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                                                                    26     A




          Facilities Contract Administration Office
             E. A. MacMillan Building Annex
                Princeton, New Jersey 08544


   ARCHITECT-ENGINEER DESIGN
       SERVICES CONTRACT

CONTRACT NUMBER FC0003914W
                              WITH


       TOD WILLIAMS BILLIE TSIEN
           ARCHITECTS LLP

                                FOR


DESIGN SERVICES FOR THE ANDLINGER
CENTER FOR ENERGY & ENVIRONMENT
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                            CONTRACT NUMBER FC0003914W
  DESIGN SERVICES FOR THE ANDLINGER CENTER FOR ENERGY
                     & ENVIRONMENT
                                                 PART I – Agreement




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NOTE: This Contract has been prepared based on the standard language
included in Princeton University Contract Master AE Design Svcs v1.0(3-2009).
Any revisions to the standard language agreed to by the Parties are highlighted in
this document: deleted text is shown with strikeout and added/changed text with
underline.



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                    PROJECT/SERVICES                                        EFFECTIVE DATE OF CONTRACT

Design Services for the Andlinger Center for
                                                                                    February 12, 2009
Energy & Environment

      THE TRUSTEES OF PRINCETON UNIVERSITY                                         ARCHITECT-ENGINEER

PRINCETON UNIVERSITY                                            TOD WILLIAMS BILLIE TSIEN ARCHITECTS LLP
FACILITIES CONTRACT ADMINISTRATION OFFICE                       222 CENTRAL PARK SOUTH
E. A. M ACMILLAN BUILDING ANNEX                                 GROUND FLOOR
PRINCETON, NJ 08544                                             NEW YORK, NY 10019

This Architect-Engineer Design Services Contract (the “Contract”) for Design Services for the Andlinger
Center for Energy & Environment (the “Services”) is made and entered into by and between The Trustees
of Princeton University (hereinafter “Princeton University”), a New Jersey not-for-profit corporation
existing under the laws of the State of New Jersey, with its principal offices in Princeton, New Jersey, and
Tod Williams Billie Tsien Architects LLP (hereinafter “Architect-Engineer”), organized and existing under
the laws of the State of New York and fully licensed and authorized to provide the required services under
New Jersey law, with its principal offices located at the address shown above.

                                                     WITNESSETH
        WHEREAS, Princeton University desires that the Architect-Engineer furnish the Services
specified below for the design and development of plans and specifications so that the Project can be
constructed ; and

         WHEREAS, Princeton University desires that the Architect-Engineer furnish the Services
specified below for the design and development of comprehensive plans and specifications for the Project
so that the Project can be constructed at a cost of construction not to exceed the Construction Budget,
and the completed Project will comply with all applicable design criteria, laws, codes, regulations, and
ordinances; and

        WHEREAS, the Architect-Engineer represents that it is willing and able to provide the Services
specified herein and that it has the necessary skills and abilities to design the Project in accordance with
the terms and conditions set forth herein; and

         NOW THEREFORE, the parties do mutually agree as follows:

ARTICLE I - THE “CONTRACT”

The Contract is comprised of the following documents, including all modifications thereof:
    Part I -- Agreement
    Part II – Project Description including the following documents:
                •     Project Description for Architect-Engineer Design Services for the Andlinger Center for
                      Energy and the Environment (ACEE) Project dated 10/20/2008 (Attached)
                •     Tod Williams Billie Tsien Architects Proposal dated November 17, 2008 submitted in
                      response to RFP CAO-09-034W (Incorporated by Reference)
The documents shall be complementary and are intended to include and imply all items required for the
proper execution and completion of the Services (as defined in Article II). However, to the extent the
terms of the documents may conflict, the documents shall control in the order listed above.




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All prior negotiations and writings of every kind concerning the Services described herein are superseded
and supplanted by this Contract. Specifically, Letter Contract FC0003914W entered into with Tod
Williams Billie Tsien Architects is encompassed into and superseded by this Contract and costs
associated with services performed under the Letter Contract are included as a part of the compensation
established by this Contract in Article IX.

ARTICLE II – DEFINITIONS

The following definitions are applicable to this Contract:
(a)    The term “Architect-Engineer” aggregately refers to all of the Architects and Engineers in the
employ of the Architect-Engineer, as well as Basic Consultants and Specialized Consultants separately
engaged by the Architect-Engineer in the performance of this Contract.
(b)     The term “Additional Services” means those services as further described in Article VIII, which
may be performed by the Architect-Engineer as part of the Contract only if and to the extent specifically
authorized by Princeton University in writing.
(c)     The term “Archive Drawings and Specifications” means the record drawings and specifications
prepared by the Architect-Engineer upon completion of the Project, as more fully set forth in Article XIV.
Archive Drawings are also sometimes referred to as “CAD Archive Drawings.”
(d)     The term “Basic Services” means those services as more fully described in the Contract, which
Architect-Engineer shall perform within the NTE Price.
(e)      The term “Basic Consultants” means the Consultants retained by the Architect-Engineer for the
performance of structural, mechanical, and electrical engineering services and specification writing
services for the Project. In addition, if the Architect-Engineer is required to provide cost estimating
services, the cost estimating consultant shall be a Basic Consultant. Compensation for Basic Consultants
is included as a part of the Fixed Fee established for this Contract.
(f)     The term “Construction Budget” means the budget established by Princeton University for the
construction of the Project, including construction contingency and the Contractor’s fee. The Architect-
Engineer shall design the Project so that the Construction Cost does not exceed the Construction Budget
as more fully set forth in Article VI(c).
(g)      The term “Construction Cost” means the total actual or estimated cost to Princeton University of
all elements of the Project designed or specified by the Architect-Engineer, including construction
contingency and the Construction Contractor’s fee. Construction Cost does not include the compensation
of the Architect-Engineer, the costs of the land, rights-of-way, or financing.
(h)     The term “Construction Documents” means the working drawings, specifications, general
conditions, supplementary general conditions, special conditions, addenda, and electronic submittals
developed to set forth in detail all aspects of design, function and construction and will be used for
estimating the cost of the Project, securing bids for constructing the Project, and directing a contractor in
construction of the Project. The Construction Documents shall be full, complete, and accurate, enabling
any competent contractor to carry them out.
(i)    The term “Construction Schedule” means the schedule for the construction of the Project,
prepared by the Contractor during the Design Development Phase.
(j)      The term “Consultants” refers collectively to all Basic Consultants and Specialized Consultants.
(k)    The term “Contract” means the contract between Princeton University and the Architect-
Engineer, comprised of the Agreement and the Scope of Professional Services.
(l)     The term “Contractor” means the prime general contractor performing the construction work on
the Project, or the contractor retained by Princeton University to provide pre-construction services.
(m)    The term “Cure Period” means the ten (10) day period under Article XV during which either party
may cure deficiencies in performance.




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(n)      The term “Design Development Documents” means plans, outline specifications and cost
estimates, and submittals developed from the Schematic Design Documents in greater detail to confirm or
adjust, as required, all aspects of the schematic plans such as exterior design, mechanical and electrical
systems, structural systems, area arrangement, foundation plans, etc., and revised cost information
reflecting the more detailed development.
(o)    The term “Design Documents” means collectively the Schematic Design Documents, the Design
Development Documents and the Construction Documents, prepared by the Architect-Engineer and its
Consultants.
(p)    The term “Design Schedule” means the detailed schedule for the design phases of the Project,
prepared by the Architect-Engineer during the Schematic Design phase, based on the Milestone Design
Schedule.
(q)    The term “Fixed Fee” means the Architect-Engineer’s fixed price compensation for the
performance of its Basic Services and those of its Basic Consultants. The Fixed Fee does not include
compensation for Reimbursable Expenses or Specialized Consultants.
(r)     The term “Investigations” means those investigations identified by the Architect-Engineer as
being necessary for the design and construction of the Project, as more fully described in Article V(f) of
the Agreement.
(s)    The term “Key Personnel” means the essential personnel of the Architect-Engineer and its
Consultants as more fully described in Article IV of the Agreement.
(t)    The term “Milestone Design Schedule” means the schedule of critical milestones for the
performance of the Architect-Engineer’s Services under the Contract.
(u)     The term “NTE Price” means the maximum compensation to the Architect-Engineer for Basic
Services, which is comprised of the Fixed Fee, the Specialized Consultants NTE Amount, and the
Reimbursable Expense NTE Amount. The acronym NTE stands for “not-to-exceed”.
(v)      The term “Princeton University” means The Trustees of Princeton University, the owner of the
Project, acting through its Princeton University Representatives.
(w)    The term “Princeton University Representative(s)” means the Technical Representative and
the Administrative Representative of Princeton University authorized to bind Princeton University under
the Contract.
(x)    The term “Project Description” means the scope of the Project on which the Architect-
Engineer’s scope of Services is based and on which the Construction Budget was established.
(y)     The term “Reimbursable Expenses” means those permitted expenses incurred by the Architect-
Engineer and its Consultants in the performance of Basic Services, as more fully described in Article IX(b)
of the Agreement.
(z)     The term “Reimbursable Expense NTE Amount” means the not-to-exceed limit on the
Architect-Engineer’s compensation for Reimbursable Expenses incurred in the performance of Basic
Services under the Contract.
(aa)     The term “Schematic Design Documents” means drawings, outline specifications, and cost
estimates developed to sufficient detail to indicate the exterior design of the Project; the functional
relationships of all interior areas; the relationship of the Project to the site, other buildings and the
campus; the materials used in construction; the types of mechanical, electrical and structural systems to
be utilized; and the magnitude of the cost of each portion of the work.
(bb)   The term “Services” means all services to be performed by or on behalf of the Architect-Engineer
pursuant to this Contract, including services performed by the Architect-Engineer, and by Basic
Consultants and Specialized Consultants engaged by the Architect-Engineer.
(cc)    The term “Specialized Consultants” means the consultants, other than Basic Consultants,
retained by the Architect-Engineer, as approved by Princeton University, including without limitation, civil




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engineering, acoustics, audio-visual, food service, lighting, security, landscape design, interior design,
and graphics design.
(dd)   The term “Specialized Consultant NTE Amount” means the not-to-exceed limit on the Architect-
Engineer’s compensation for Basic Services performed by Specialized Consultants.
(ee)    The term “Statement of Construction Cost” means the periodic estimates of the Construction
Cost of the Project prepared at the end of each design phase by the Contractor and, if included in the
Architect-Engineer’s scope of Services, by the Architect-Engineer’s cost Consultant.
(ff)    The term “Substantial Completion” means substantial completion of the construction contract,
as defined therein.
(gg)     The term “Work” means all construction work for the Project to be performed by the Contractor or
any other person or entity engaged by Princeton University as specified in the contract documents setting
forth the Work.

ARTICLE III - DESIGNATED REPRESENTATIVES

(a)      The Architect-Engineer’s designated representatives are:
         Tod Williams & Billie Tsien             -    Principals in Charge
         Jonathan Reo                            -    Project Manager
(b)      Princeton University’s designated project and administrative representatives (individually and
collectively herein “Princeton University Representatives”) are:
         Sam Rozycki                             -    Project Manager (Technical Representative)
         Sharon R. Warkala                       -    Contract Administrator (Administrative Representative)
(c)      Agreements made by and/or actions taken by the Architect-Engineer, which by their nature effect
a change to this Contract, shall only be binding upon Princeton University when such agreement or action
is specifically authorized in writing, in advance, by a Princeton University Representative. Therefore, any
change undertaken by the Architect-Engineer at the direction of anyone other than a Princeton University
Representative, or without the prior written authorization of a Princeton University Representative, is at
the Architect-Engineer’s own risk.

ARTICLE IV - KEY PERSONNEL AND CONSULTANTS

(a)      Architect-Engineer’s Key Personnel. The Key Personnel of the Architect-Engineer specified
below, if any, are considered to be essential to the Services being performed hereunder:
 Tod Williams, Principal-In-Charge                               Jonathan Reo, Project Manager
 Billie Tsien, Principal-In-Charge                               Evan Ripley, Project Architect
 Philip Ryan, Senior Associate

(b)     Basic Consultants. The Basic Consultants (including any Key Personnel), to be used by the
Architect-Engineer in the performance of this Contract, are:
          Basic Consultant                               Discipline                       Key Personnel
 Arup                                       MEP Engineer                           Fiona Cousins
                                                                                   Brian Haggerty
 Ballinger                                  Associate Architect                    Eva Lew
                                                                                   David Lang
 Cost Estimator                             Faithful & Gould                       Paul Male
 Frank Hubach Associates                    Acoustics                              Frank Hubach
                                                                                   Steve Neal



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          Basic Consultant                               Discipline                        Key Personnel
 Jacobs Consultancy                         Laboratory Consultant                  Josh Meyer
                                                                                   Kathy Machin
 Jacobs                                     Cleanroom Architect/Consultant         Bob Patterson
                                                                                   Greg Owen
 Severud Associates                         Structural Engineer                    Ed Messina
                                                                                   Brian Falconer

(c)    Specialized Consultants. The Specialized Consultants (including any Key Personnel), to be
used by the Architect-Engineer in the performance of this Contract are:
      Specialized Consultant                             Discipline                        Key Personnel
 RW Sullivan                                Code Consultant                        Kevin Hastings
 Transsolar                                 Sustainability Consultant              Thomas Auer
                                                                                   Erik Olsen
 TBD                                        AV                                     TBD
 TBD                                        Curtainwall Consultant                 TBD
 TBD                                        Elevator Consultant                    TBD
 TBD                                        Graphics                               TBD
 TBD                                        Hardware                               TBD
 TBD                                        Lighting                               TBD
 TBD                                        Spec Writer                            TBD
 TBD                                        TEL/ DATA                              TBD
 TBD                                        Security                               TBD
 TBD                                        Waterproofing Consultant               TBD

(d)      Change in Key Personnel or Consultants. Prior to reassigning any of the specified Key
Personnel to other projects, the Architect-Engineer shall notify Princeton University reasonably in
advance and shall submit justification (including proposed substitutions) in sufficient detail to permit
evaluation of the impact on the Project. This Contract may be amended from time to time during the
course of the Contract to either add or delete Key Personnel, as appropriate. Any change to the Key
Personnel listed above is subject to Princeton University’s prior written approval, which shall not be
unreasonably withheld, and any such change made without the prior written approval of Princeton
University may be considered a material breach of the Contract. Refer to Article VI(d)(4) regarding
substitutions of Consultants.

ARTICLE V - PRINCETON UNIVERSITY’S RESPONSIBILITIES

(a)      Project Requirements. Prior to execution of this Contract, Princeton University has provided to
the Architect-Engineer the Project Description, which comprises Part II of the Contract, and which sets
forth a description of Princeton University’s design objectives, constraints, and criteria and specifies the
space requirements and relationships, flexibility and expandability, special equipment and systems and
site requirements for the Project. Throughout the term of the Contract, Princeton University shall consult
with the Architect-Engineer and provide in a timely manner such additional information as may be
reasonably necessary for the Architect-Engineer to perform Architect-Engineer’s Services under this
Contract.




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(b)     Project Schedule. Prior to execution of this Contract, Princeton University has established the
Project schedule. Princeton University will update the overall Project schedule as necessary.
(c)      Construction Budget. Prior to execution of this Contract, Princeton University has established
the Construction Budget for the Project, which is based on the Project Requirements described in
paragraph (a) above. The Construction Budget for the Project is $102,290,000.00 as more fully set forth
in the Part II Project Description. Note that the Construction Budget has been established using current
year dollars (March 2010) and that Princeton University will account for all escalation in its overall project
budget (and not in the Construction Budget). An increase in the Construction Budget by Princeton
University due to escalation shall not be a reason for an increase in the Architect-Engineer’s Fixed Fee,
nor in the Specialized Consultant NTE Amount nor the Reimbursable Expenses NTE Amount.
(d)     Review and Approval of Documents; Responsiveness.                The Princeton University
Representative shall examine the documents submitted by the Architect-Engineer and shall render
decisions pertaining thereto promptly to avoid unreasonable delay in the progress to the Architect-
Engineer’s Services.
(e)     Existing Conditions Documents. Upon request, Princeton University will provide access to and
copies of all available drawings and other documents describing the physical characteristics of the site of
the Project. Architect-Engineer shall rely upon the completeness and accuracy of any and all information
provided by, or on behalf of, Princeton University.
(f)     Surveys. Princeton University will provide surveys of the site as mutually agreed upon with
Architect-Engineer, and the Architect-Engineer is entitled to rely on the accuracy of such surveys.
(g)     Testing. Princeton University will provide geo-technical, structural, mechanical, chemical, air and
water pollution tests for hazardous materials and other laboratory and environmental tests, inspections,
and reports required by law. The Architect-Engineer shall inform Princeton University of all surveys,
investigations, inspections, or tests (collectively “Investigations”) which should be performed for the
proper design and construction of the Project, but which are not within the scope of Architect-Engineer’s
Services under this Contract, and render advice as to when such Investigations should be performed to
avoid any delay to the completion of the Project. The Architect-Engineer shall assist Princeton University
in preparing all information and instructions needed to enable Princeton University to solicit proposals for
any such Investigations and to engage appropriate consultants to perform such Investigations. The
Architect-Engineer shall review the results of all Investigations as they apply to Architect-Engineer’s
design of the Project and take them into account appropriately in designing the Project.
(h)       Hazardous Materials. Princeton University will provide services relating to hazardous or toxic
waste removal, including but not limited to, detection and abatement of all such hazards. Under no
circumstances whatsoever shall Architect-Engineer have any responsibility for the discovery, presence,
handling, removal or disposal of or exposure of persons to hazardous materials in any form at the Project
site, including, but not limited to, asbestos, asbestos products, polychlorinated biphenyl (PCB), bacteria,
mold, fungi, or other toxic substances, radon, infectious materials, or contaminants.
(i)     Notice of Defects. Notice shall be given by Princeton University to the Architect-Engineer and
by the Architect-Engineer to Princeton University if either party becomes aware of any fault or defect in
the Project or nonconformance with the Construction Documents.

ARTICLE VI – ARCHITECT-ENGINEER’S GENERAL RESPONSIBILITIES

(a)    Standard of Care. Architect-Engineer shall perform the Services hereunder this Agreement in
accordance with the standards of skill and care generally exercised by other design professionals in the
same locale acting under similar circumstances and conditions.
(b)     Project Administration Services. The Architect-Engineer shall provide all project administration
services necessary to facilitate the orderly progress of the Project, including attending Project meetings,
communicating with others as appropriate, monitoring progress and issuing progress reports to Princeton
University, supervising Architect-Engineer’s in-house personnel, directing Architect-Engineer’s
Consultants and coordinating and managing information flow and decision-making.



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(c)      Schedule for Architect-Engineer’s Services.
         (1)      Milestone Design Schedule. By executing this Contract, the Architect-Engineer
         represents to Princeton University that the Milestone Design Schedule as set forth in Article XI
         herein is reasonable for the scope of Services to be performed hereunder.
         (2)       Design Schedule. During the Schematic Design Phase, the Architect-Engineer shall
         prepare a comprehensive Design Schedule, based on the Milestone Design Schedule. The
         Design Schedule shall be presented in Princeton University’s required format, and shall be
         prepared using computer software designated by Princeton University. The Design Schedule
         shall be provided to Princeton University electronically or on diskette upon request. The Design
         Schedule shall include all milestones identified in the Milestone Design Schedule, and shall
         identify deadlines for information exchange and decision-making, major meetings, progress and
         end-of-phase document submissions, Princeton University review/approval periods, submission
         for approval of authorities having jurisdiction, and value engineering sessions or other major
         activities as are appropriate to the Project. The Architect-Engineer shall continuously monitor the
         Design Schedule and shall notify Princeton University of actions required to maintain the
         schedule. The Architect-Engineer shall update the Design Schedule at each project meeting;
         provided, however, that milestone dates may be modified only with the approval of Princeton
         University.
         (3)       Construction Schedule. The Contractor shall prepare the proposed Construction
         Schedule for the Project (during the design phase in which the construction contract is executed).
         The Construction Schedule shall coordinate, integrate and combine schedules for all aspects of
         the Project, including the design, bidding, negotiation and construction phases, incorporating a
         detailed schedule of pre-construction activities, construction activities sequences and durations,
         allocations and scheduling of labor activities, purchase order placement and deliveries of
         materials and equipment, preparation and processing of shop drawings and submittals, and
         Architect-Engineer’s and Princeton University’s review time, and including a schedule for the
         Architect-Engineer’s services under this Contract. Such schedule shall be in format and detail
         satisfactory to Princeton University, and shall include a construction scheduling plan based upon
         the critical path method detailing the working days necessary for the critical path, noncritical path,
         and float time in the sequence of the Work and analysis and explanation thereof. If such
         schedule will require Architect-Engineer to complete some or all of its services under this
         Contract within time intervals shorter than those illustrated in the Architect-Engineer’s Design
         Schedule, Contractor shall consult with the Architect-Engineer in analyzing, alternatives for
         complying with such shorter time schedule. The Contractor’s proposed Construction Schedule
         shall be subject to the review and acceptance of Princeton University, and upon approval by
         Princeton University, the Construction Schedule shall be the binding schedule for Architect-
         Engineer’s performance of its duties under this Contract.
         (4)       In the event Architect-Engineer is delayed in the performance of its Services through no
         fault of its own, then Architect-Engineer may be entitled to an adjustment in the time required to
         perform its Services. Architect-Engineer will promptly notify Princeton University of any such
         delay that will have a possible impact on the schedule.
(d)      Project Cost Control.
         (1)     Duty to Design the Project Within the Construction Budget. Architect-Engineer shall
         design the Project so that the Construction Cost to construct the Project in accordance with the
         Construction Documents prepared by the Architect-Engineer and its Consultants does not exceed
         the Construction Budget. The Architect-Engineer acknowledges that the Construction Budget
         includes adequate provision for the construction of all elements of the Project designed by or
         specified by the Architect-Engineer and its Consultants as contemplated by the Project
         Description attached as Part II of the Contract.
         (2)     Modification of Construction Budget. The Architect-Engineer acknowledges that it is
         expected that the Construction Budget will not change throughout the duration of the Project,
         except to the extent that Princeton University makes changes to the Project Description for the



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         Project on which the Construction Budget was based. If Princeton University proposes changes
         to the mutually agreed upon Project Description, the Architect-Engineer shall inform Princeton
         University of the cost implications to the Project. The Construction Budget may be modified only
         in a writing executed by Princeton University and may result in an adjustment to the Fixed Fee
         where there has been a change to the Project Description. However, should Princeton
         University, without change to the Project Description, increase the Construction Budget for any
         reason attributable to Architect-Engineer’s failure to design the Project within the Construction
         Budget, the Architect-Engineer’s Fixed Fee shall remain unchanged even if such increase in the
         Construction Budget is attributable to the Contractor’s estimating errors, lack of reasonable efforts
         to maximize subcontractor competition, or other reasons within the control of the Contractor.
         (3)      Periodic Statements of Construction Cost. Princeton University will require the
         Contractor to prepare and update detailed Statements of Construction Cost based on the Design
         Documents prepared by Architect-Engineer. In addition, if included in the Architect-Engineer’s
         scope of Services, the Architect-Engineer shall retain a cost estimating consultant to
         independently prepare and periodically update Statements of Construction Cost in a format
         compatible with that of the Contractor. Such Statements of Construction Cost shall be prepared
         and submitted in accordance with the schedule set forth in Article XI, Time of Performance. The
         Contractor (and the Architect-Engineer’s cost estimating Consultant, if any), shall monitor the
         development of the Design Documents by the Architect-Engineer and shall monitor the costs of
         materials, building systems, equipment and labor and shall develop detailed cost data from which
         their respective Statements of Construction Cost can be prepared. The Contractor shall also
         inform Princeton University and the Architect-Engineer of any component the cost of which would
         reasonably be expected to have a material impact on the Construction Cost of the Project. Each
         Statement of Construction Cost shall be in a CSI format, or other suitable format agreed upon by
         Princeton University, to allow comparison. The Architect-Engineer shall specifically identify any
         escalation factors included (and the corresponding rationale). Note that the Contractor’s fee
         calculation shall not include general conditions costs or construction contingency.
         At the end of each design Phase of the Project, and after submission of each Statement of
         Construction Cost, Princeton University, the Architect-Engineer and the Contractor shall meet to
         review and discuss the scope of work and the corresponding Statements of Construction Cost
         (and, where the Architect-Engineer has retained a costing estimating Consultant, to reconcile any
         differences between the respective Statements of Construction Cost). In the event that the
         Contractor’s Statement of Construction Cost (or the reconciled Statement of Construction Cost
         where the Architect-Engineer has retained a cost Consultant) exceeds the Construction Budget
         by more than five percent (5%), then Architect-Engineer shall, if requested by Princeton
         University, redesign the Project and, after consultation with Princeton University and the
         Contractor, revise the Design Documents on the basis of which such Statement of Construction
         Cost was prepared, until Contractor (and the Architect-Engineer’s cost Consultant, if any) are
         able to issue a revised Statement of Construction Cost that does not exceed the Construction
         Budget. All services with respect to the revision of Design Documents because the Statement of
         Construction Cost exceeded the Construction Budget by more than five percent (5%) shall be
         provided by Architect-Engineer as part of Basic Services at no additional cost to Princeton
         University. In the event that the Contractor’s Statement of Construction Cost exceeds the
         Construction Budget by five percent (5%) or less and Princeton University seeks to have
         Architect-Engineer revise the Design Documents, then Architect-Engineer shall revise the Design
         Documents as an Additional Service. Further, if the Contractor’s Statement of Construction Cost
         (or the reconciled Statement of Construction Cost where the Architect-Engineer has retained a
         cost consultant) is greater than the Construction Budget due solely to Contractor’s estimating
         errors, lack of reasonable efforts to maximize subcontractor competition, or other reasons within
         the control of the Contractor, then any redesign services performed by the Architect-Engineer
         shall be considered an Additional Service.
         (4)     Taxes. Princeton University, as an exempt organization, is exempt from New Jersey
         sales taxes under Exemption No. EO-210-634-501, and from New Jersey excise taxes under
         Exemption No. A-110839. Princeton University interprets the applicable state statute, N.J.S.A.



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         54:32B-8.22 to apply this exemption to all purchases by contractors, subcontractors and
         repairmen of materials, supplies or services for the exclusive use in erecting structures or building
         on, or otherwise improving, altering or repairing its real property. In preparing Statements of
         Construction Cost, Architect-Engineer shall not include sales taxes or excise taxes on those
         elements of Construction Cost which are not subject to New Jersey sales or excise tax.
(e)     Engagement of Basic Consultants and Specialized Consultants. The Architect-Engineer
agrees to engage all Basic Consultants and Specialized Consultants as are required for the proper design
and job observation during the construction period of the Project.
         (1)      Architect-Engineer's Responsibility Regarding Consultants.            Architect-Engineer
         represents that Architect-Engineer has made thorough investigation of all Consultants to be
         utilized in performance of the Contract to assure that such Consultants possess the skill,
         knowledge and experience qualifying them to perform those aspects of the Contract to be
         performed by them at a standard for design of projects of comparable complexity and to assure
         that such Consultants can perform without delay the required services in their areas of expertise
         at a cost which is reasonable and is within the allowances for such cost which have been taken
         into account by Architect-Engineer in agreeing to the compensation provided for in this Contract.
         (2)     Princeton University Approval of Consultants. All Consultants proposed by the
         Architect-Engineer shall be subject to the review and approval of Princeton University in advance,
         which approval shall not be unreasonably withheld. Princeton University hereby approves
         Architect-Engineer's use of the Consultants selected by Architect, in the indicated areas of work,
         as specifically listed in Article IV(b) and IV(c) of the Agreement. The Architect-Engineer
         acknowledges and agrees that except with respect to the areas so indicated in the Agreement,
         Consultants are not required for the Project. If a Consultant is indicated in the Agreement as
         being required for the Project, but the name of the Consultant is not specifically identified, the
         Architect Engineer shall submit the recommended Consultant to Princeton University for review
         and approval before any work is performed by such Consultant. Nothing in this section shall
         relieve Architect-Engineer of Architect-Engineer's sole and prime responsibility for the
         performance of the Contract, including all performance by Consultants.
         (3)      Consultant Agreements. Architect-Engineer, shall upon request, provide to Princeton
         University complete and correct copies of Architect-Engineer's agreement with each Consultant,
         including amendments thereto. Architect-Engineer shall enter into an agreement with each
         Consultant pursuant to which the Consultant assumes toward the Architect-Engineer all of the
         obligations that the Architect-Engineer assumes toward Princeton University under the Contract.
         In addition, each contract shall include the following provisions:
                   (i)       An agreement by the Architect-Engineer and Consultant that Princeton University
                             is a third-party beneficiary of the agreement, entitled to enforce any rights
                             thereunder for its benefit, and that Princeton University shall have the same
                             rights and remedies vis-à-vis such Consultants that the Architect-Engineer may
                             have, including, but not limited to, the right to be compensated for any loss,
                             expense or damage of any nature whatsoever incurred by Princeton University,
                             resulting from any breach of such agreements by the Consultant, any breach of
                             representations arising out of such agreements and any negligent error or
                             omission of such Consultant in the performance of any of its professional
                             services obligations under such agreements; and
                   (ii)      A provision requiring the Consultant to maintain Professional Liability Insurance
                             in amounts required by Article XII hereof or in such other amounts reasonably
                             available and approved in writing by Princeton University throughout the term of
                             this agreement; and
                   (iii)     A provision that Princeton University may at reasonable times and after notice to
                             the Architect-Engineer, contact the Consultant to discuss any aspect of the
                             Consultant's services; provided that Princeton University shall furnish to the




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                             Architect-Engineer a copy of any such correspondence and further provided that
                             Princeton University shall not direct the services of the Consultant; and
                   (iv)      A provision that upon the filing of a petition under the Federal Bankruptcy Code
                             by the Architect-Engineer, Princeton University shall have the right to enter into
                             an agreement with the Consultant at the same price, with the Consultant being
                             obligated to perform the same duties it otherwise would have performed under
                             this Contract with the Architect-Engineer; and
                   (v)       A provision that grants to Princeton University all rights to Consultant’s
                             documents set forth in Article XIII hereof.
         (4)     Substitution of Consultants. No substitution of Consultants from those listed in the
         Agreement, no alteration of the area of work for particular Consultants identified in the
         Agreement, and no use of additional Consultants shall be made without prior written approval of
         Princeton University, which shall not be unreasonably withheld. Requests for approval must
         include a clear description of the work to be performed, the capability of the proposed Consultant
         and the method of payment.
         (5)      Termination of Consultant Agreements. Princeton University reserves the right to
         require Architect-Engineer to terminate contracts or agreements with any Consultants retained by
         Architect-Engineer for performance of services under this Contract. Any compensation for which
         Princeton University may be liable as a result of such termination shall be limited to amounts as
         described in Section Article XV hereof. In the event of any termination of any Consultant
         contracts or agreements by Architect-Engineer, whether or not required by Princeton University,
         Architect-Engineer will ensure prompt delivery of all records, documents, working papers,
         calculations, computer programs, data, drawings, plans, specifications and other work product,
         and all equipment, materials, items or objects acquired by the Consultant and reimbursed by
         Architect-Engineer and/or Princeton University pertaining to services performed under this
         Contract to the time of termination.
(f)      Coordinated Services. The Architect-Engineer acknowledges that it is essential that all
Services in connection with the Project be coordinated, including services provided by Princeton
University. The Architect-Engineer shall coordinate the services of all its architects, engineers, Basic
Consultants and Specialized Consultants for the Project, shall review and check all drawings and
specifications prepared by architects, engineers, Basic Consultants and Specialized Consultants for the
Project, and shall make modifications as necessary, to assure that they are integrated into a coordinated
and complete set of documents prior to each submission. In addition, the Architect-Engineer shall
coordinate its Services with services provided by Princeton University and Princeton University’s in-house
architects.
(g)     Princeton University-Furnished Information. The Architect-Engineer shall identify information
or documents required to be provided by Princeton University for the Project, and, if necessary, shall
gather available documents from Princeton University’s identified record storage location. The Architect-
Engineer shall assemble, review, and coordinate data furnished by Princeton University, to include
Princeton University’s construction contract agreements.
(h)      Design Criteria, Laws, Codes, and Regulations. The Architect-Engineer shall identify and
research all design criteria, laws, codes, regulations and ordinances applicable to the Project, and shall,
in accordance with Standard of Care set forth in Article VI(a), design the Project to be in compliance
therewith. Princeton University acknowledges that the American with Disabilities Act (“ADA”) may be
subject to various and possibly contradictory interpretations. Architect-Engineer shall use reasonable
efforts and care in interpreting and advising Princeton University as to the requirements for the Project to
comply with the ADA and other statutes, ordinances, codes, rules, regulations, orders and requirements.
In the event that there is a conflict between various laws, codes, regulations, ordinances, or Princeton
University Design Standards, Architect-Engineer will notify Princeton University of the nature and impact
of such conflict, and Princeton University agrees to cooperate and work with the Architect-Engineer in its
efforts to resolve any conflicts prior to the issuance of Construction Documents. If appropriate, and with
Princeton University’s approval, at times appropriate to the project phase, the Architect-Engineer and/or



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its Consultants shall review the Project with authorities having jurisdiction. The Architect-Engineer shall
prepare necessary written and graphic explanatory materials, and appear on Princeton University’s behalf
at agency meetings. All such visits shall be made with Princeton University’s Representative. If required
for the Project and authorized by Princeton University, the Architect-Engineer shall prepare necessary
code variance applications.
(i)      Value Engineering. The Architect-Engineer shall generate value engineering suggestions or
proposals when the Statement of Construction Cost is greater than the Construction Budget or when
requested by Princeton University. The Architect-Engineer shall review and analyze value engineering
suggestions or proposals submitted by any other party, including Princeton University and the Contractor.
If the Architect-Engineer determines that the value engineering suggestion or proposal is suitable for
incorporation into the design of the Project, the suggestion or proposal shall be incorporated into the
Architect-Engineer’s Design Documents, and the Architect-Engineer shall be responsible for the Design
Documents regardless of the source of the value engineering suggestion or proposal. If the Architect-
Engineer determines that the value engineering suggestion or proposal is not suitable for incorporation
into the design of the Project, the Architect-Engineer shall provide a concise, but complete, explanation to
Princeton University of the reasons for such determination.
(j)      Princeton University Design Standards. The Architect-Engineer shall design the Project to
comply with the Princeton University Facilities Design Standards Manual, Release 7.0, March 2008 (the
“Design Standards”). If the Architect-Engineer judges an aspect of the Design Standards to be in conflict
with a Project requirement, or with any law, code, or regulation, or to be otherwise detrimental to the
Project, the Architect-Engineer shall so notify, and abide by written direction from, the Princeton
University Representative; provided, however, that if in the judgment of the Architect-Engineer any such
direction from the Princeton University Representative would violate applicable codes or sound design
practice, the Architect-Engineer shall so notify the Princeton University Representative before proceeding.
If the Architect-Engineer deviates from the Design Standards without specific written authorization from
Princeton University to do so, Princeton University may instruct the Architect-Engineer to modify the
Design Documents as necessary, without additional compensation, to comply with the Design Standards.
In the event that any aspect of the Project is constructed in a manner which deviates from the Design
Standards without Architect-Engineer obtaining specific written authorization from Princeton University for
such deviation, then, in addition to any other rights or remedies which may be available pursuant to the
terms of this Contract or by operation of law, Princeton University specifically reserves the right to claim
an error or omission on the part of the Architect-Engineer in that regard and may seek indemnification
therefore.
(k)     Design Documents. The Architect-Engineer shall submit design documents to Princeton
University for purposes of evaluation and approval by Princeton University. Subject to the provisions
contained in the next sentence hereof, the Architect-Engineer shall be entitled to rely on approvals
received from Princeton University in the further development of the design. Princeton University’s
approval of the Architect-Engineer’s design documents contemplated herein and in other portions of this
Contract shall not be for the purpose of determining the accuracy, adequacy, or completeness of such
documents, and shall not alter the Architect-Engineer’s responsibilities with respect to such documents.
(l)      Meetings. The Architect-Engineer shall schedule all meetings with Princeton University through
the Princeton University’s Project Manager. The Architect-Engineer shall prepare an agenda for and
minutes of all meetings attended by the Architect-Engineer, except for construction meetings for which
the Contractor is assigned to keep the minutes or meetings led by Princeton University, noting in
sufficient detail: topics discussed; information presented and reviewed; decisions made; comments and
observations; and “ACTION” items, which shall specifically identify individual responsible, tasks to be
undertaken and the date anticipated for completion. The Architect-Engineer shall distribute the minutes
within one week of the documented meeting.
(m)    Communications. The Architect-Engineer shall have facsimile capability and at least one e-mail
address per office.
(n)      Princeton Collaborative System (PCS).




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         (1)      System Overview. Princeton University requires all Contractors and Architect-Engineers
         to participate in a web-based project management application (Centric Project). The application
         is hosted on Princeton University servers which are maintained by Princeton University staff. The
         web application is customized by Princeton University and provides for a unique web page for
         any project. It is the intent for all documentation, correspondence, and construction information
         that would normally be provided to Princeton University to be posted and stored on the project
         web site.
         (2)     Minimum System Requirements. The following summarizes the minimum system
         requirements for all Contractor’s and Architect-Engineers to possess in order to participate. It is
         the responsibility of all Contractors and Architect-Engineers to possess these minimum
         requirements at no additional cost to Princeton University.
                   (i)       233 MHz Pentium II or better (800Mhz Pentium III or better recommended)
                             Microsoft Windows 2000 SP3, 2000 SP4, XP, or XP SP1
                             Minimum 65 MB free hard disk space for User Tools and ActiveX controls
                             Minimum 130 MB of temporary free space used during installation of User Tools
                             and ActiveX controls
                             Windows 2000 and XP: 128 MB RAM (512 MB recommended)
                             Video card and display capable of True Color (24-bit) and a minimum of 32 MB of
                             video memory (OpenGL driver recommended)
                             Microsoft Internet Explorer 6.0 or 6.0 SP1
                             MDAC 2.8
                             Broadband Internet Connection
                   (ii)      The downloadable tools are available at no cost from Princeton University’s
                             server. Users will be required to make relatively modest adjustments to their web
                             browser and e-mail settings. Self service IT support may be required.
                   (iii)     Training sessions will be provided on campus by Princeton University at no cost.
                             Users should allow approximately 3 hours of training per person.
         (3)      Responsible Users/Project Team Members. All users who are responsible for, or wish
         to retain individual ownership rights to, project specific documentation, correspondence, drawings
         or other information will be considered an individual entity on the project team, and will be
         required to attend training.
         (4)      Roles and Responsibilities.        The following demonstrates the required level of
         involvement and contribution to the PCS process; however, the Project Manager and the
         Architect-Engineer will mutually establish the specific protocols, tasks, and requirements for this
         Project:
                   (i)       All Team Members. All team members will be required to perform the following
                             tasks on a daily basis: convert all correspondence to electronic format and post
                             them to web site; generate ‘e-mail’, schedule meetings and assign tasks through
                             the PCS tool. (PCS synchronizes with MS Outlook calendar, task, and e-mail
                             functions.)
                   (ii)      Contractor.    PCS will track Requests for Information, Submittals, Task
                             Assignments (Tracked Activities), Punch Lists, and various other processes. If
                             the Contractor chooses to maintain parallel tracking in another project
                             management software, a certain level of copy/paste duplicate entry will be
                             required. PCS offers customizable logs and reports for these applications.
                             Princeton University will offer initial technical support to develop basic reports,
                             with the Contractor’s input.
                   (iii)     Architect-Engineers. All drawings will be posted to the PCS site. While a static
                             format may be used during the course of the project, the final archive must



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                             contain full .DWG files with X-Refs and in accordance with Princeton University
                             Design Standards.
(o)      No Conflict of Interest. Except with Princeton University’s knowledge and consent, the
Architect-Engineer shall not engage in any activity, or accept any employment, interest, or contribution
that would reasonably appear to compromise the Architect-Engineer’s professional judgment with respect
to this Project.
(p)     Confidential Information.        The Architect-Engineer shall maintain the confidentiality of
information specifically designated as confidential by Princeton University, unless withholding such
information would violate applicable law, create the risk of significant harm to the public or prevent the
Architect-Engineer from establishing a claim or defense in an adjudicatory proceeding. The Architect-
Engineer shall require its Consultants to maintain the confidentiality of information specifically designated
as confidential by Princeton University.

ARTICLE VII – ARCHITECT-ENGINEER’S BASIC SERVICES

(a)     Basic Services of the Architect-Engineer shall include the services of all professional and
technical disciplines needed to perform the services described in this Article. These services shall be
performed according to generally accepted standards of professional practice.
(b)     General Project Services. The Architect-Engineer shall provide the following services throughout
all phases of the Project.
         (1)     Cost Estimating Services [X] are [_] are not included in the scope of Basic Services
         under this Contract.
         (2)      Building Commissioning (Design Phase) Services (refer to Section 3.3 of the Princeton
         University Design Standards Manual) [_] are [X] are not included in the scope of Basic Services
         under this Contract. If it is indicated that these services are not included in this Contract and
         Princeton University elects to obtain these services from a third party consultant under a separate
         contract, the Architect-Engineer shall coordinate its services with this consultant pursuant to
         Article VI(e).
         (3)     Fire Suppression System. The Architect-Engineer shall comply with the procedural
         guidelines set forth in Section 3.7, paragraph 6, of the Princeton University Design Standards
         Manual.
         (4)    Structural System.           The Architect-Engineer shall provide a fully-engineered structural
         system (steel, wood, etc.).
(c)     As a part of its Basic Services, Architect-Engineer shall provide services that may be reasonably
required in connection with the work of the Contractor retained by Owner such as a limited number of
additional meetings and coordination efforts that may be needed as a result of additional analyses and
evaluations, construction scheduling, value engineering, cost estimate reconciliations and other services
that would not normally be required.
(d)     Schematic Design Services.                The Architect-Engineer shall provide the following schematic
design phase services:
         (1)      Commencement and Completion. The Schematic Design Phase shall commence
         upon written directive from Princeton University and shall be considered complete for purposes of
         final payment for the Phase upon the approval by Princeton University of the Schematic Design
         Documents.
         (2)      Verification of Existing Conditions. The Architect-Engineer shall be required to verify
         existing configurations of space, field measurements of critical dimensions, types and conditions
         of architectural, mechanical, electrical and other systems, and existing sizes and capacities of
         systems and equipment, based on Princeton University-provided information and visual
         inspection within the Project area. However, in the event that Architect-Engineer identifies a
         discrepancy, inaccuracy or deficiency in the documentation and information received by or on



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         behalf of Princeton University, then Architect-Engineer shall promptly notify Princeton University
         of such discrepancy, inaccuracy, or deficiency.
         (3)     Analysis of Alternatives.          Subject to Article VII(c) herein, consider alternative
         approaches to the design of the Project, with the aim of best meeting Princeton University’s
         stated objectives for the Project, including scope, cost, schedule, and design intent.
         (4)     Architectural Design. Based on the Project Description, the Construction Budget and
         other design criteria, prepare preliminary plans, preliminary sections and building elevations,
         preliminary selection of building systems and materials, summary of areas and volumes, and
         perspective sketches or study models where appropriate to convey three-dimensional aspects of
         the design, including code review and analysis as necessary. This shall include any special
         design considerations requiring Specialized Consultants.
         (5)      Structural Design. Review with Princeton University alternate structural materials and
         systems.      Develop conceptual design solutions for selected systems.            Identify system
         characteristics and limitations, including practical span lengths and bay spacing, and typical sizes
         of structural members.
         (6)      Mechanical Design. Develop conceptual design solution for connection to existing
         services, heating and ventilating, air conditioning, energy conservation, plumbing, fire protection,
         special mechanical systems, and control systems. Prepare preliminary load assessments, and
         identify general space requirements. Review with Princeton University alternate materials,
         systems and equipment.
         (7)      Electrical Design. Develop conceptual design solutions for power service and
         distribution, lighting, telephones, fire detection and alarms, security systems, electronic
         communications, and special electrical systems. Identify general space requirements. Review
         with Princeton University alternate materials, systems and equipment.
         (8)      Civil Design. If required, develop conceptual design solutions for on-site utility systems,
         fire protection systems, drainage systems, grading paving, curb cuts, and off-site utility systems
         improvements required for the project. Review with Princeton University alternate materials and
         systems.
         (9)      Landscape Design. In concert with Princeton University’s separately contracted
         Landscape Architect (Michael Van Valkenburg Associates), review with Princeton University
         alternate materials, systems and equipment. If required, develop conceptual design solutions for
         land forms, lawns and plantings based on program requirements, physical site characteristics,
         design objectives and environmental determinants.
         (10)    Materials, Research and Specifications. Review with Princeton University applicable
         performance criteria and quality standards for potential materials, systems and equipment.
         Investigate availability and suitability of alternative materials, systems and equipment and make
         recommendations to Princeton University. Prepare outline specifications in accordance with the
         Construction Specification Institute (CSI) Manual of Practice.
         (11)    Presentations. Present Schematic Design Documents to Princeton University, and
         respond to questions. Documents shall be presented in a format acceptable to Princeton
         University.
         (12)    Princeton University’s Comments. Record, evaluate, and respond to Princeton
         University’s comments based on the review of the Schematic Design Documents. Modify the
         Schematic Design Documents to correct deficiencies, and identify changes which will be
         incorporated into the design of the Project during the Design Development Phase. Identify any
         Princeton University-requested design changes, which require additional services.
         (13)   Tests and Inspections. The Architect-Engineer shall advise Princeton University of any
         need or advisability of the Princeton University’ securing any tests, analyses, studies, reports, or
         Consultants in connection with the development of the Design Documents for the Project.




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         (14)   Statement of Construction Cost. In accordance with the schedule set forth in Article
         XI, Time of Performance, submit to Princeton University a Statement of Construction Cost in
         accordance with Article VI(c).
         (15)    Review of Statement of Construction Cost -- Redesign. Princeton University, the
         Architect-Engineer and the Contractor shall meet to review and discuss the scope of work and the
         corresponding Statement of Construction Cost (and to reconcile any differences between the
         Statements of Construction Cost pursuant to Article VI(c)(3), if the Architect-Engineer has
         retained a cost estimating Consultant). In the event that the Contractor’s Statement of
         Construction Cost (or the reconciled Statement of Construction Cost, if the Architect-Engineer
         has retained a cost estimating Consultant) is greater than the Construction Budget, the Architect-
         Engineer shall in accordance with Article VI(c), if requested by Princeton University, as part of
         Basic Services and at no additional cost to Princeton University, redesign the Project and, after
         consultation with Princeton University and the Contractor, revise the Schematic Design
         Documents on the basis of which such Statement of Construction Cost was prepared, until
         Contractor (and the Architect-Engineer’s cost Consultant, if any) are able to issue a revised
         Statement of Construction Cost that does not exceed the Construction Budget.
(e)     Design Development Phase Services.                      The Architect-Engineer shall provide the following
design development phase services:
         (1)     Commencement and Completion. The Design Development Phase shall commence
         upon written directive from Princeton University and shall be considered complete for purposes of
         final payment for the Phase upon the approval by Princeton University of the Design
         Development Documents.
         (2)     General. Based on the approved Schematic Design Documents, incorporating Princeton
         University’s review comments and any adjustments authorized by Princeton University to the
         program, schedule, or construction budget, further develop the design of the project; resolve
         remaining design issues with Princeton University; research materials, systems, and equipment;
         prepare Design Development Documents (including outline specifications), all subject to
         Princeton University’s approval; perform code review and analysis as necessary.
         (3)     Architectural Design.      Establish the final scope, relationships, forms, size and
         appearance of the Project through plans, sections and elevations; typical construction details;
         final materials selection; equipment layouts; and perspective sketches and study models where
         appropriate to convey three-dimensional design intent.
         (4)     Structural Design. Based on the approved structural system, establish final structural
         design criteria, foundation design criteria, bay spacing and other dimensions, preliminary sizing of
         major structural components, critical coordination clearances, and outline specifications.
         (5)     Mechanical Design. Perform HVAC load calculations, and plumbing fixture counts.
         Establish equipment sizes and capacities; equipment, distribution, and piping layouts; required
         space for equipment; required chases and clearances; acoustical and seismic controls; visual
         impacts; energy conservation measures, and develop control schematics.
         (6)      Electrical Design.      Establish the final scope of the lighting, electrical, and
         communication systems. Establish sizes and capacities of major components; equipment
         layouts; required space for equipment; required chases and clearances, and energy conservation
         measures.
         (7)    Civil Design. Establish the final scope and preliminary details for on-site and off-site civil
         engineering work.
         (8)     Millwork Design. Establish final scope and preliminary details relative to interior
         construction of the Project; special interior design features; built-in furniture; furnishings, and
         equipment selections; and materials, finishes and colors.




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         (9)      Landscape Design. In concert with Princeton University’s separately contracted
         Landscape Architect (Michael Van Valkenburg Associates), establish final scope and preliminary
         details for landscape construction, materials, plantings, fixtures, and furnishings.
         (10)    Specifications. Prepare a design development specification consisting of summary
         specification sections organized according to the CSI Division 16 format. Review Division 1
         sections provided by Princeton University, and submit proposed modifications.
         (11)    Presentations. Present Design Development Documents to Princeton University, and
         respond to questions. Documents shall be presented in a format acceptable to Princeton
         University.
         (12)    Princeton University’s Comments. Record, evaluate, and respond to Princeton
         University’s comments based on the reviews of the 100% Design Development Documents.
         Modify the Design Development Documents to correct deficiencies and incorporate Princeton
         University comments, and identify changes, which will be incorporated, into the design of the
         Project during the Construction Documents Phase. Identify any Princeton University-requested
         design revisions, which require additional services.
         (13)    Detailed Statement of Construction Cost. In accordance with the schedule set forth in
         Article XI, Time of Performance, submit to Princeton University a detailed Statement of
         Construction Cost in accordance with Article VI(c).
         (14)    Review of Statement of Construction Cost; Redesign. Princeton University, the
         Architect-Engineer and the Contractor shall meet to review and discuss the scope of work and the
         corresponding Statement of Construction Cost (and to reconcile any differences between the
         Statements of Construction Cost pursuant to Article VI(c)(3), if the Architect-Engineer has
         retained a cost estimating Consultant). In the event that the Contractor’s Statement of
         Construction Cost (or the reconciled Statement of Construction Cost, if the Architect-Engineer
         has retained a cost estimating Consultant) is greater than the Construction Budget, the Architect-
         Engineer shall in accordance with Article VI(c), if requested by Princeton University, as part of
         Basic Services and at no additional cost to Princeton University, redesign the Project and, after
         consultation with Princeton University and the Contractor, revise the Design Development
         Documents on the basis of which such Statement of Construction Cost was prepared, until
         Contractor (and the Architect-Engineer’s cost Consultant, if any) are able to issue a revised
         Statement of Construction Cost that does not exceed the Construction Budget.
(f)     Construction Documents Phase Services. The Architect-Engineer shall provide the following
construction documents phase services:
         (1)    Commencement and Completion.             The Construction Documents Phase shall
         commence upon written directive from Princeton University and shall be considered complete for
         purposes of final payment for the Phase upon the approval by Princeton University of the
         Construction Documents.
         (2)      General. Based upon the approved Design Development Documents, incorporating
         Princeton University’s review comments and any further adjustments in the scope or quality of the
         Project, or in the construction budget authorized by Princeton University, prepare Construction
         Documents setting forth in detail all construction requirements for the Project, including code
         review and analysis as necessary. The Construction Documents shall, as a minimum, consist of
         drawings, and a project manual, and shall be subject to Princeton University’s approval.
         (3)      Drawings. Drawings shall document the scope of work and details for the project, and
         shall be coordinated both internally, with the Consultants, and with the specifications.
         Construction Documents shall, in accordance with the Standard of Care set forth in Article VI(a),
         be in compliance with those codes, ordinances, statutes, regulations and laws applicable to the
         Architect-Engineer’s Services, except to the extent expressly and specifically stated in detail in
         writing by Architect-Engineer at the time of such submission.
         (4)       Project Manual. The Project Manual shall include:



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                   (i)       General requirements as embodied in Princeton University’s standard
                             documents, as may be modified by the Architect-Engineer, subject to Princeton
                             University’s approval, to reflect the specific conditions and requirements of the
                             Project.
                   (ii)      Technical Specifications prepared by the Architect-Engineer and the Architect-
                             Engineer’s Consultants.
         (5)     Presentations. Present the Construction Documents to Princeton University, and
         respond to questions. Documents shall be presented in a format acceptable to Princeton
         University.
         (6)     Princeton University’s Comments. Record, evaluate, and respond to Princeton
         University’s comments based on the review of 50% and 85% Construction Documents. Modify
         the Construction Documents to correct deficiencies and incorporate Princeton University
         comments. Identify any Princeton University-requested design revisions, which require additional
         services.
         (7)       Approvals. Assist Princeton University in connection with Princeton University’s
         responsibility for filing documents required for the approval of governmental authorities having
         jurisdiction over the project. Revise documents as necessary to obtain approval from authorities
         having jurisdiction.
         (8)    Updated Statement of Construction Cost. When Construction Documents are 50%
         complete, update the Statement of Construction Cost for the Project, taking into account:
                   (i)       Changes in materials, systems, or details of construction, which have occurred
                             during preparation of the Construction Documents;
                   (ii)      Known changes in the cost of materials, labor or services since the previous
                             Statement of Construction.
                   (iii)     Adjustments for known or anticipated changes in the bidding market relative to
                             the Project.
         (9)     Review of Statement of Construction Cost--Redesign. Princeton University, the
         Architect-Engineer and the Contractor shall meet to review and discuss the scope of work and the
         corresponding Statement of Construction Cost (and to reconcile any differences between the
         Statements of Construction Cost pursuant to Article VI(c)(3), if the Architect-Engineer has
         retained a cost estimating Consultant). In the event that the Contractor’s Statement of
         Construction Cost (or the reconciled Statement of Construction Cost, if the Architect-Engineer
         has retained a cost estimating Consultant) is greater than the Construction Budget, the Architect-
         Engineer shall in accordance with Article VI(c), if requested by Princeton University, as part of
         Basic Services and at no additional cost to Princeton University, redesign the Project and, after
         consultation with Princeton University and the Contractor, revise the Construction Documents on
         the basis of which such Statement of Construction Cost was prepared, until Contractor (and the
         Architect-Engineer’s cost Consultant, if any) are able to issue a revised Statement of Construction
         Cost that does not exceed the Construction Budget.
(g)     Bidding or Negotiation Phase Services. The Architect-Engineer shall provide the following
bidding or negotiation phase services:
         (1)      Commencement and Completion. The Bidding or Negotiation Phase shall commence
         upon written directive from Princeton University and shall be considered complete for purposes of
         final payment for the Phase upon the approval by Princeton University contract for construction.
         (2)     Pre-Qualification of Contractors. As necessary, advise and assist Princeton University
         in evaluating submissions by contractors seeking to be pre-qualified for the work of the project.
         (3)     Solicitation Documents. Princeton University is responsible for organizing and
         coordinating the solicitation documents.




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         (4)     Invitation to Bid. As necessary, assist Princeton University in establishing the list of
         bidders. Princeton University is responsible for issuing all solicitations.
         (5)     Pre-Bid Conference and Walk Through. As necessary, participate in the pre-bid
         conference and walk-through. Provide assistance to Princeton University in responding to
         questions from bidders. All questions and responses shall be recorded and forwarded to
         Princeton University for distribution.
         (6)     Addenda. As necessary, assist Princeton University in reviewing questions proposed by
         Bidders prior to receipt of Bids, and make recommendations. Prepare and submit to Princeton
         University for distribution to Bidders, addenda information as may be required during bidding. All
         addenda will be issued by Princeton University.
         (7)    Evaluation of Bids. If requested by Princeton University, participate in reviews of bids,
         and make recommendations on award of contract(s).
         (8)     Substitutions. The Architect-Engineer shall, during both the bidding or negotiation
         phase, if applicable, and the construction phase, review and respond to requests for substitution
         submitted by bidders or contractors. Architect-Engineer shall provide its response within five (5)
         business days or as otherwise agreed to by Princeton University.
         (9)     Redesign. If the lowest bona fide bid or negotiated proposal exceeds the Construction
         Budget, Princeton University shall, at its option:
                   −    give written approval of an increase in the Construction Budget;
                   −    authorize rebidding or renegotiating of the Project within a reasonable amount of
                        time;
                   −    terminate this Contract in accordance with Article XV; or
                   −    cooperate in revising the Project design to reduce the lowest bona fide bid or
                        negotiated proposal.
         If Princeton University requests that the Architect-Engineer redesign the Project, the Architect-
         Engineer, as part of Basic Services and without additional compensation, shall modify the
         Construction Documents for which the Architect-Engineer is responsible under this Contract as
         necessary to comply with the Construction Budget. However, if the Contractor’s Statement of
         Construction Cost (or the reconciled Statement of Construction Cost where the Architect-
         Engineer has retained a cost consultant) is greater than the Construction Budget due solely to
         Contractor’s estimating errors, lack of reasonable efforts to maximize subcontractor competition,
         or other reasons within the control of the Contractor, then any redesign services performed by the
         Architect-Engineer shall be considered an Additional Service.
(h)    Construction Phase Services – Administration of the Construction Contract. The Architect-
Engineer shall provide the following services during the construction phase of the project:
         (1)      Commencement and Completion. The Construction Phase shall commence upon
         written directive from Princeton University and shall be considered complete for purposes of final
         payment for the Phase upon Substantial Completion of the Project.
         (2)     Administration. The Architect-Engineer shall administer the contract between Princeton
         University and the Contractor, in accordance with the Construction Documents.
         (3)     Interpretation of Documents. The Architect-Engineer shall respond to the Contractor’s
         requests for information (RFI) and issue sketches and supplemental instructions as required.
         Response time shall be agreed to between the Contractor and the Architect-Engineer, but shall
         not result in construction delays.
         (4)    Changes to Construction Documents. Architect-Engineer shall make changes to the
         Construction Documents during the Construction Phase, as follows:




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                   (i)       General. As part of Basic Services and subject to the limitations set forth in
                             Article VII(c), the Architect-Engineer will review a reasonable number of
                             proposed changes to the Construction Documents with Princeton University and
                             the Contractor, and provide Princeton University with an analysis detailing any
                             impact upon the design, any effect on compliance with laws or industry
                             standards, and any reasons which, in Architect-Engineer's professional opinion,
                             may exist for rejecting or modifying the proposed change. Architect-Engineer
                             shall also review the Contractor's resulting written change proposal to determine
                             that it clearly documents the scope and nature of the proposed change and that
                             the costs or cost savings the Contractor has identified appear complete and
                             appropriate.     Architect-Engineer shall make a written recommendation to
                             Princeton University respecting the proposed change and, if Princeton University
                             elects to proceed with it, Architect-Engineer shall modify the Construction
                             Documents as necessary to effect the change and assist Princeton University in
                             reviewing the Contractor's change order. All such changes must be clearly
                             defined and documented in the change order, pursuant to procedures reasonably
                             requested by Princeton University. If Princeton University requests a change that
                             is inconsistent with an approval previously given by Princeton University or if
                             Architect-Engineer is asked to review an excessive amount of changes,
                             Architect-Engineer's services in dealing with such changes, and Architect-
                             Engineer’s services in dealing with requests for substitutions, will be treated as
                             Additional Services. Architect-Engineer shall give prompt written notice to
                             Princeton University explaining the nature of such services and why such
                             services need to be performed.
                   (ii)      Due to Architect-Engineer's Error. If the Construction Documents must be
                             changed to correct Architect-Engineer's error, omission, or failure to coordinate
                             the drawings and specifications comprising the Construction Documents,
                             Architect-Engineer will make the change promptly upon becoming aware of the
                             need for a correction, as part of its Basic Services, and at no additional cost to
                             Princeton University. Architect-Engineer will work with Princeton University and
                             the Contractor to minimize the impact of the resulting changes on the cost of the
                             Project and the Construction Schedule.
                   (iii)     Due to Contractors’ Error. If it becomes necessary or advisable to change the
                             Construction Documents due to a Contractor's error or omission, Architect-
                             Engineer will promptly discuss with Princeton University the proposed changes
                             and their effect upon the Project cost and schedule and, upon receiving
                             Princeton University’s written approval, proceed to make the changes. Architect-
                             Engineer will assist Princeton University in obtaining the Contractor's
                             acknowledgment of responsibility for the change and its consequences, costs
                             and, failing such agreement, will maintain documentation to assist Princeton
                             University in pursuing its claims or other remedies against the Contractor for
                             excess costs. Architect-Engineer's services in dealing with such errors or
                             omissions will be treated as Additional Services. Architect-Engineer shall give
                             prompt written notice to Princeton University explaining the nature of such
                             services and why such services need to be performed.
         (5)     Site Visits. The Architect-Engineer shall visit the site at intervals appropriate to the
         stage of construction, but not less than an average of 1 (one) day(s) per week, to review the
         progress and quality of the work. The Architect-Engineer shall determine if, in general, the Work
         is being performed in a manner indicating that the Work will be in accordance with the
         Construction Documents when completed. The Architect-Engineer shall confirm that the
         Contractor is maintaining updated field record documents. The Architect-Engineer shall prepare
         a written summary of on-site observations and issues raised on each visit, keep Princeton
         University informed of the progress and quality of the Work, and shall endeavor to guard
         Princeton University against defects and deficiencies in the Work. However, the Architect-



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         Engineer shall not be required to make exhaustive or continuous on-site inspections to check the
         quality or quantity of the Work. The Architect-Engineer shall immediately inform Princeton
         University in writing of any deviations from the Construction Documents, or any otherwise
         defective Work or improper procedures being carried out by the Contractor or its subcontractors.
         The Architect-Engineer shall neither have control or charge of, nor be responsible for, the
         construction manner, means, methods, techniques, sequences or procedures, or for safety
         precautions and programs in connection with the Work, since these are solely the Contractor’s
         rights and responsibilities under the construction contract.
         (6)    Access to the Work. The Architect-Engineer shall at all times have access to the Work
         wherever it is in preparation or progress.
         (7)      Project Progress Meetings. The Architect-Engineer and the Architect-Engineer’s
         Consultants as required shall attend project progress meetings at two-week intervals, unless an
         alternate schedule is established by agreement of Princeton University, Architect-Engineer and
         Contractor.
         (8)      Contractor’s Application for Payment. If requested by Princeton University, the
         Architect-Engineer shall, based on the Architect-Engineer’s observations and evaluations of the
         Contractor’s applications for payment, certify amounts due the Contractor and issue certificates of
         payment in such amount within seven days of receipt of Contractor’s applications. The Architect-
         Engineer’s certification for payment shall constitute a representation to Princeton University,
         based on the Architect-Engineer’s observations at the site and on the Contractor’s Application for
         Payment, that to the best of the Architect-Engineer’s knowledge, information and belief the Work
         has progressed to the point indicated and that the quality of the Work is in accordance with the
         Contract Documents. The foregoing representations are subject to an evaluation of the Work for
         conformance with the Contract Documents upon Substantial Completion, to results of subsequent
         tests and inspections, to minor deviations from the Contract Documents correctable prior to
         completion and to specific qualifications expressed by the Architect-Engineer. The issuance of a
         Certificate of Payment shall further constitute a representation that Contractor is entitled to
         payment in the amount certified. However, the issuance of a Certificate for Payment shall not be
         a representation that the Architect-Engineer has (1) made exhaustive or continuous on-site
         inspections to check the quality or quantity of the Work, (2) reviewed construction means,
         methods, techniques, sequences or procedures, (3) reviewed copies of requisitions received from
         Subcontractors and material suppliers and other data requested by Princeton University to
         substantiate the Contractor’s right to payment or (4) ascertained how or for what purpose the
         Contractor has used money previously paid on account of the Contract Sum.
         (9)      Rejection of Work. The Architect-Engineer shall notify Princeton University in writing
         when the Architect-Engineer determines that the Work does not conform to the Construction
         Documents so that Princeton University can reject the Work, at its option. Whenever the
         Architect-Engineer considers it necessary or advisable, to determine compliance with the intent of
         the Construction Documents, the Architect-Engineer shall recommend that Princeton University
         require additional inspection or testing of the Work, whether or not such Work is fabricated,
         installed or completed. However, such actions of the Architect-Engineer shall not give rise to a
         duty or responsibility of the Architect-Engineer to the Contractor, Subcontractors, material and
         equipment suppliers, their agents or employees or other persons performing portions of the Work.
         (10)    Submittals. The Architect-Engineer shall review and/or approve the Contractor’s
         submittals such as shop drawings, product data and samples. The Architect-Engineer’s action
         shall be taken within ten (10) working days of receipt of first submissions and subsequent
         submittals, unless a shorter period is agreed to with respect to particular submittals. Review of
         such submittals is not conducted for the purpose of determining accuracy and completeness of
         other details such as dimensions and quantities or for substantiating instructions for installation or
         performance of equipment or systems by the Contractors, all of which remain the responsibility of
         the Contractor. The Architect-Engineer’s review shall not constitute approval of safety
         precautions or programs, or of construction means, methods, techniques, sequences or
         procedures. The Architect-Engineer’s approval of a specific item shall not indicate approval of an



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         assembly of which the item is a component. When professional certification of performance
         characteristics of materials, systems or equipment is required by the Construction Documents,
         the Architect-Engineer shall be entitled to rely upon such certification to establish that the
         material, systems or equipment will meet the performance criteria required by the Construction
         Documents. The shop drawing review process shall not be used by the Architect-Engineer to
         enhance or modify the design of the project.
         (11)     Construction Changes. After notification to, and the obtaining of approval from
         Princeton University, the Architect-Engineer may authorize minor changes in the Work which are
         consistent with the intent of the Construction Documents and which do not involve an adjustment
         in the contract sum or an extension of the contract time.
         (12)       Substantial Completion.         The Architect-Engineer shall review and amend the
         Contractor’s list of items to be completed or corrected, and conduct inspections to determine the
         date or dates of Substantial Completion for all portions of the Project. The Architect-Engineer
         shall issue a certificate of Substantial Completion which establishes the date of Substantial
         Completion, lists Work remaining to be completed and the time period for completion, and sets
         forth transitional and ongoing responsibilities of Princeton University and Contractor relative to
         utilities, security, repair of damage to the Work, etc.
(i)      Close-Out Services.
         (1)      Close-Out Submittals. The Architect-Engineer shall receive, review for completeness,
         and forward to Princeton University written warranties, operation and maintenance manuals, and
         other documents required by the Construction Documents and assembled by the Contractor. In
         addition, the Architect-Engineer shall provide, through its Consultants if appropriate, a short
         written description of the mechanical and electrical systems and their operations, together with
         single-line diagrams as required, for use of maintenance and repair personnel. System
         descriptions and diagrams shall be coordinated with and cross-referenced to Contractor-furnished
         maintenance manuals.
         (2)      Final Completion and Final Certificate of Payment. Upon receiving the Contractor’s
         final application for payment, and notice that the Work is complete, the Architect-Engineer shall
         conduct a final inspection to determine if the Work is complete and acceptable. The Architect-
         Engineer shall issue a final Certificate of Payment upon Contractor’s compliance with all
         requirements of the Construction Documents.
         (3)       Archive Drawings and Archive Specifications. The Architect-Engineer and its
         Consultants shall prepare and submit Archive Drawings and Specifications as more fully set forth
         in Article XIV.
         (4)      Warranty Inspection. The Architect-Engineer shall provide services in conjunction with
         an inspection, approximately 10 months from date of Substantial Completion. Visual inspection
         shall be made with Princeton University and Contractor to determine whether correction of Work
         is required in accordance with provisions of the Construction Documents.

ARTICLE VIII - ADDITIONAL SERVICES BY ARCHITECT-ENGINEER

(a)      Additional Services. Additional Services are defined as changes authorized by Princeton that
increase the scope of the project or the Basic Services established in this Contract and that are subject to
additional compensation in accordance with Article IX(c). The services specifically listed below are not
included in the Basic Services described in this Contract and shall be considered to be “Additional
Services”. Additional Services shall be performed only if specifically authorized in advance by Princeton
University in writing. Additional Services performed prior to the written authorization of Princeton
University shall not be compensated as an Additional Service under the Contract. Upon the request or
authorization by Princeton University to perform Additional Services and/or before performing any
Additional Services, the Architect-Engineer shall provide to Princeton University a detailed cost proposal
to perform the services in accordance with Article IX(c).




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         (1)     Special Field Investigation Services. The following special field investigation services
         are beyond the scope of Services anticipated by this Contract. As needed for the Project, and
         approved or requested by Princeton University, these services shall be performed by the
         Architect-Engineer as an Additional Service on a lump sum basis:
                   •    Provide a detailed inventory of Princeton University’s existing furniture and
                        equipment.
                   •    As specifically requested and authorized by Princeton University, prepare measured
                        existing conditions floor plans of portions of buildings.
                   •    Prepare measured drawings to document the location size of existing mechanical,
                        electrical, or other systems for Princeton University.
                   •    Conduct a detailed investigation of the condition of architectural, mechanical,
                        electrical, and other building systems outside the scope of the current Project, but
                        required to integrate the Project into existing building systems.
         (2)     Document Revisions During Construction. Preparing drawings, specifications and
         supporting data in connection with Change Orders when the Change Order is necessitated by an
         act or omission of the Contractor pursuant to Article VII(f)(4)(i) or for Princeton University
         requested changes.
         (3)     Replacement of Work. Providing consultation concerning replacement of any Work
         damaged by fire or other cause during construction, and furnishing services as may be required
         in connection with the replacement of such Work.
         (4)      Failure or Default of Contractor. Providing services made necessary by the failure of
         performance, termination, or default of the Contractor, by major defects or deficiencies in the
         work of any Contractor; or by failure of performance of either Princeton University or any
         Contractor under the construction contract. However, under no circumstances will the Architect-
         Engineer be entitled to receive additional compensation for services made necessary by the
         errors, omissions, or failure of performance of the Architect-Engineer and/or its Consultants.
         (5)     Post Final Completion.         Providing services, other than the 10-month warranty
         inspection, after issuance to Princeton University of the final Project Certificate for Payment,
         provided that the Architect-Engineer’s closeout phase obligations have been fully completed. In
         the absence of a final Project Certificate for Payment, providing Services required to extend the
         close-out period more than sixty days after the Date of Substantial Completion of the Work,
         except when the Architect-Engineer is the cause of such extension. An extension of the close-out
         period beyond sixty days does not entitle the Architect-Engineer to additional compensation for
         close-out services which are not affected by the time extension, such as review of required close-
         out submittals, or preparation of MEP systems descriptions, even though such services may
         occur during the extension.
         (6)      Witness. Preparing to serve or serving as a witness on Princeton University’s behalf in
         connection with any legal proceeding following close-out, except with regard to claims allegedly
         arising out of the errors or omissions of the Architect-Engineer or its Consultants.
         (7)     Site Plan Review. Notwithstanding the provisions of Article VI, paragraph (h), assisting
         Princeton University in fulfilling the requirements of a major or minor site plan review, including
         preparation of documents in support of an application prepared by others, attendance and
         testimony at public hearings, and response to issues raised by board members or staff.
         (8)     Other Additional Services. Providing any other services not otherwise included in this
         Contract and not customarily furnished in accordance with generally accepted architectural
         practices, which are requested and authorized in advance by Princeton University as being an
         Additional Service.
(b)     Extra Services. Extra Services which are not due to errors, omissions or failure of performance
of the Architect-Engineer and/or its Consultants that may be necessary as a result of changes to the



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project requirements that are otherwise within the scope of the Project, the Basic Services established in
this Contract, or the Additional Services subsequently added to the Contract via Amendment shall not be
treated as Additional Services; however, an adjustment to the NTE Price may be made in accordance
with Article IX(c) depending on the nature and circumstances of the Extra Services.. Architect-Engineer
shall notify Princeton University when a change will result in the incurrence of Extra Services for which
additional compensation will be sought. Extra Services shall be performed only if specifically authorized
in advance by Princeton University in writing. Extra Services performed without the written authorization
of Princeton University may not be compensated under the Contract. Upon the request or authorization
by Princeton University to perform Extra Services and/or before performing any Extra Services, the
Architect-Engineer shall provide to Princeton University a detailed cost proposal in accordance with
Article IX(c) that both justifies the incurrence of and details the costs to perform the Extra Services.
         (1)     Changes, updates, delays to the project or construction schedule may result in an
         adjustment to the NTE Price provided the services were, in fact, Extra Services that would not
         have otherwise been performed but for such increase in the Project time. Basic Services which
         are simply performed at a later time, but which would have been required had there been no
         increase in the project time, may not be reimbursed as Extra or Additional Services.
         (2)      Changes to the Construction Budget by Princeton University that result in the
         performance of additional cost estimates or redesign efforts on the part of the Architect-Engineer
         and/or its Consultants may result in an adjustment to the NTE Price provided the services were,
         in fact, Extra Services that would not have otherwise been performed but for the change to the
         budget.
         (3)      The Architect-Engineer may be compensated for services provided or costs incurred as a
         result of or during a suspension of work made by Princeton University in accordance with Article
         XVI without regard to the duration of the suspension. Extra Services requested by Princeton
         University such as those for preparation of additional or alternate cost estimates, preparation of
         alternate designs, or for redesign/rework or the incurrence of costs related to
         demobilization/remobilization of staff by the Architect-Engineer and/or its Consultants may be
         reimbursed as Extra Services provided that the Architect-Engineer substantiates that the services
         performed and/or costs incurred resulted directly from and would not have otherwise been
         performed/incurred but for the suspension of work.
(c)    Notwithstanding anything to the contrary expressed elsewhere in this Contract, Architect-
Engineer shall not be compensated under the Contract for any Extra or Additional Services –
         −    made necessary, in whole or in part, by any fault or omission of the Architect-Engineer to
              perform its duties, responsibilities or obligations under this Contract.
         −    for cost overruns or other costs incurred in excess of the Fixed Fee or other NTE Amounts
              set forth in Article IX by the Architect-Engineer or any of its Consultants not stemming from
              any change or direction made by Princeton University.
         −    unless the circumstances giving rise to any claim for additional compensation necessitate the
              preparation of additional sketches, drawings, or other documents, or the making of
              substantial changes in any document which has already been approved by Princeton
              University or upon which substantial work has already been performed by the Architect-
              Engineer.
(d)    If at any time during the term of this Contract Princeton University should request the Architect-
Engineer to reduce the scope of services originally agreed upon under this Contract, the Architect-
Engineer shall then reduce said scope of services, as requested, and his fee shall be reduced by a fair
and equitable amount.
(e)      If Princeton University requests that the Architect-Engineer perform services that the Architect-
Engineer believes to be Additional or Extra Services as defined in this Article, the Architect-Engineer shall
promptly inform Princeton University in writing and shall provide a fixed price (lump sum) or not-to-exceed
cost estimate to Princeton University to provide such services. Architect-Engineer shall not proceed with
the Additional or Extra Services until it receives an express written authorization executed by Princeton



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University. However, if Princeton University, in the exercise of its reasonable judgment, concludes that
the services in question are Basic Services and directs the Architect-Engineer to proceed on this basis,
the Architect-Engineer shall proceed without delay. Failure to so proceed shall constitute a material
breach of this Contract; however, by so proceeding, the Architect-Engineer does not waive any claim that
it may have related to such services.

ARTICLE IX – COMPENSATION

(a)     Basic Services Compensation. The Architect-Engineer agrees to perform all of the services
described in Articles VI and VII for the NTE Price of $15,498,080 (Fifteen Million Four Hundred Ninety-
Eight Thousand Eighty Dollars) which is comprised of the Fixed Fee, the Specialized Consultants NTE
Amount, and the Reimbursable Expenses NTE Amount. The NTE Price is the maximum compensation
Architect-Engineer will receive for Basic Services unless otherwise agreed in writing by Princeton
University.
         (1)      Fixed Fee. In full compensation for the Architect-Engineer’s Basic Services, including
         without limitation, full compensation for all Basic Consultants (but excluding compensation for
         Specialized Consultants and excluding compensation for Reimbursable Expenses), Princeton
         University shall pay to Architect-Engineer the Fixed Fee of $14,918,010.00 which is allocated as
         follows:
                   Program Verification (2%) ......................................................................... $293,160.00
                   Schematic Design (SD) Phase (12%) .................................................... $1,758,961.00
                   Design Development (DD) Phase (19%) ............................................... $2,785,022.00
                   Construction Documents (CD) Phase (34%) ......................................... $4,983,724.00
                   Bidding or Negotiation (BN) Phase (2%) .................................................. $293,160.00
                   Construction Administration (CA)/Close-Out (CO) Phase (31%) .......... $4,543,983.00
                   Comprehensive Archive Drawings & Specifications (See Article XIV) ..... $260,000.00
         Incremental Funding via Phase. Princeton University will incrementally encumber funds for the
         Fixed Fee using the Phase allocations specified above as authorizations to proceed with the
         Phases are granted. Currently, authorization has been granted to proceed through the DD
         Phase. Therefore, total funding in the amount of $4,837,143.00 is encumbered to cover Basic
         Services through the DD Phase.           This amount consists of $1,845,244.00 previously
         encumbered under Letter Contract FC0003914W plus an additional $2,991,899.00 encumbered
         by this Superseding Contract.
         (2)      Specialized Consultant NTE Amount. In full compensation for Basic Services
         performed by Specialized Consultants, Princeton University shall pay to Architect-Engineer the
         actual fees invoiced by Specialized Consultants to the Architect-Engineer, which for each
         Specialized Consultant shall not exceed the amounts set forth below which include a mark-up of
         0% for Architect-Engineer’s administrative costs associated therewith, and which in the aggregate
         shall not exceed the Specialized Consultant NTE Amount of $0.00.
                                     Specialized Consultant                                                 NTE Amount
                                              None                                                               $0.00

         (3)     Reimbursable Expenses NTE Amount. As full compensation for Architect-Engineer’s
         Reimbursable Expenses, Princeton University shall pay to Architect-Engineer the actual
         expenses incurred by Architect-Engineer and its Consultants that are allowable in accordance
         with the guidelines set forth in paragraph (b) below. Expenses shall be reimbursed at cost and
         with no markup and, in the aggregate shall not exceed the total not-to-exceed amount of
         $580,070.00 which is allocated by phase as follows:
                   Program Verification (2%) ........................................................................... $11,601.00
                   Schematic Design (SD) Phase (12%) ......................................................... $69,609.00



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                 Design Development (DD) Phase (19%) .................................................. $110,213.00
                 Construction Documents (CD) Phase (34%) ............................................ $197,224.00
                 Bidding or Negotiation (BN) Phase (2%) .................................................... $11,601.00
                 Construction Administration (CA)/Close-Out (CO) Phase (31%) ............. $179,822.00
                 TOTAL Reimbursable Expenses .............................................................. $580,070.00
         Incremental Funding via Phase. Princeton University will incrementally encumber funds for
         Reimbursable Expenses using the Phase allocations specified above as authorizations to
         proceed with the Phases are granted. Currently, authorization has been granted to proceed
         through the DD Phase. Therefore, total funding in the amount of $191,423.00 is encumbered to
         cover Reimbursable Expenses through the DD Phase. This amount consists of $129,167.00
         previously encumbered under Letter Contract FC0003914W plus an additional $62,256.00
         encumbered by this Superseding Contract.
         If at any time the Architect-Engineer has reason to believe that the expenses to be incurred for
         Reimbursable Expenses in performing this Contract in the next succeeding thirty (30) days, if
         added to all other payments and costs previously accrued, will exceed eighty-five percent (85%)
         of the funded not-to-exceed amount for Reimbursable Expenses, the Architect-Engineer shall
         notify Princeton University giving a revised estimate of total Reimbursable Expenses along with
         supporting reasons and documentation.
(b)      Reimbursable Expenses. The Architect-Engineer will be reimbursed for actual expenses in
accordance with the guidelines listed below. These guidelines shall apply to all expenses incurred
specifically for the project for which reimbursement is sought under this Contract whether incurred directly
by the Architect-Engineer or by its Consultants. Only direct costs that are wholly attributable to the
project shall be allowed. Indirect, prorated, proportional or other shared or estimated expenses shall not
be allowed as reimbursable expenses. Deviations from these guidelines shall be allowable only with prior
written approval from Princeton University.
         (1)    Expenses for transportation and living when traveling in connection with the project as
         approved by Princeton University are allowable subject to the following constraints:
                   (i)       Transportation and living expenses for travel within a forty (40) mile radius of
                             Princeton University shall not be allowable.
                   (ii)      “First Class” expenses shall not be allowable. Examples of “First Class”
                             expenses include limousines, chauffeured cars, luxury car rentals, private jets,
                             first class airfare, business class airfare on domestic flights, and any other form
                             of luxury travel. Expenses for the following forms of transportation are
                             considered allowable: public transportation, economy/standard car rental,
                             coach/economy airfare, business class airfare on international flights, and other
                             reasonable forms of transportation.
                   (iii)     Mileage reimbursement for use of personal vehicles shall be allowable at the
                             standard mileage rate for business set by the IRS at the time of travel.
                   (iv)      Allowable points of travel shall be between Princeton University and the
                             Architect-Engineer’s office location(s). If Princeton University is the first or last
                             stop of the day, travel between the University and an employee’s home shall be
                             allowable. Travel to Consultants’ office locations on behalf of Princeton
                             University shall be allowable when this project is clearly identified as the sole
                             purpose of the meeting. An agenda for the meeting shall be submitted with the
                             invoice for reimbursement. Travel between an employee’s home and normal
                             office location shall not be allowable.
                   (v)       Meals. Those meals purchased while travelling to or working at Princeton
                             University during normal business hours (typically lunch) shall be allowable.
                             Meals, beverages, or snacks purchased in the Architect-Engineer’s home city




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                             while not travelling to or from Princeton University shall not be allowable.
                             Reimbursement for alcoholic beverages is not permitted.
                   (vi)      Hotels. When required, accommodations at the standard single room rate shall
                             be allowable. In-room charges such as movies, mini-bar, water, and snacks shall
                             not be allowable.
         (2)     Expenses for production or reproduction of drawings, specifications, calculations, cost
         estimates, program analyses, photographs, renderings, plottings, shop drawings, or similar
         instruments required as described in Articles VI and VII.
         (3)     Expenses for printing or copying Construction Documents in quantities suitable for
         bidding, provided the cost is obtained by competitive pricing of outside services.
         (4)      Expenses for postage, parcel delivery services (UPS or similar carriers), long distance
         telephone calls, facsimile (fax) transmissions, special deliveries, and couriers or other hired
         delivery services.
         (5)      Expenses for fees paid for securing approval of governmental review agencies and
         authorities if approved in advance by Princeton University. Reproduction expenses for the initial
         sets of drawings, specifications, calculations and reports for submittal to such agencies (i.e., the
         Division of Community Affairs, designated plan checking firm, etc) for plan checking shall be
         reimbursable.
(c)      Additional or Extra Services. Adjustments to the NTE Price for the performance of Extra
Services or additional compensation for Additional Services as defined in Article VIII, will be incorporated
by Princeton by a written Amendment to the Contract. Architect-Engineer and Princeton University will
negotiate either a maximum (NTE) fee to be reimbursed based on the Hourly Billing Rates set forth
below, or, if the scope of the Extra or Additional services can reasonably be determined in advance, a
fixed fee (lump sum) amount.
(d)     Hourly Billing Rates. The following rates apply to this Contract, shall remain fixed for the entire
duration of this Contract:

                               Individual/Labor Category                           Hourly Rate
                   Tod Williams, Architectural Principal-In-Charge                  $325.00
                   Billie Tsien, Architectural Principal-In-Charge                  $325.00
                   Philip Ryan, Architectural Senior Associate                      $210.00
                   Jonathan Reo, Architectural Project Manager                      $160.00
                   Evan Ripley, Architectural Project Architect                     $140.00
                   Architectural Project Staff                                      $115.00
                   MEP Principal                                                    $340.00
                   MEP Associate Principal                                          $240.00
                   MEP Associate                                                    $200.00
                   MEP Senior Engineer                                              $160.00
                   MEP Engineer                                                     $100.00
                   MEP Senior Drafter                                               $130.00
                   MEP Drafter                                                      $100.00
                   MEP Clerical                                                     $100.00
                   Ed Messina, Structural Principal                                 $290.00
                   Brian Falconer, Structural Principal                             $290.00
                   Structural Associate Principal                                   $250.00
                   Structural Associate                                             $210.00
                   Structural Senior Engineer                                       $190.00



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                              Individual/Labor Category                            Hourly Rate
                   Structural Engineer                                              $170.00
                   Structural Draftsmen/CADD Operator                               $130.00

ARTICLE X – PAYMENTS

(a)     All amounts invoiced and paid under this Contract shall be in U.S. Dollars ($) and are not subject
to currency fluctuation.
(b)     Architect-Engineer shall prepare and submit monthly invoices for payments under this Contract.
Invoices shall be typed or computer-generated, shall include the Architect-Engineer’s name and
payment/remittance address, and shall cite Princeton University Contract Number FC0003914W and
Project Grant number 078-2055. The Architect-Engineer shall direct invoices to the attention of Princeton
University Contract Administrator at the following address:
         PRINCETON UNIVERSITY
         Facilities Contract Administration Office
         E.A. MacMillan Building Annex
         Princeton, New Jersey 08544
         ATTN: Sharon R. Warkala
(c)      Monthly invoices shall include amounts for Basic and Additional Services Compensation per
Article IX in accordance with the following:
         (1)      Fixed Fee. Monthly invoices shall include a proportion of the Fixed Fee amount set forth
         in Article IX(a)(1) based on the percentage of completion of the Schematic Design, Design
         Development, Construction Documents, Bidding or Negotiation, and Close Out Phases during the
         billing month. For Construction Phase services, the Architect-Engineer shall submit monthly
         invoices for equal monthly payments based on the anticipated construction period (from award of
         the contraction contract to Substantial Completion). If an alternate payment schedule is
         incorporated into this Contract, monthly invoices shall include amounts per the payment
         schedule. In no event will amounts be paid that are in excess of the corresponding Fixed Fee
         amount established for each Phase as set forth in Article IX(a)(1).
         (2)       Specialized Consultant Fees. With each monthly invoice, Architect-Engineer shall
         submit copies of all Specialized Consultant invoices for which payment is being requested. The
         Architect-Engineer shall examine the invoices of its Specialized Consultants to confirm that all
         claimed fees and expenses are allowed under this Contract and shall not include ineligible
         amounts in its invoices to Princeton University. In no event will amounts be paid that are in
         excess of the corresponding NTE Amount established for that Specialized Consultant as set forth
         in Article IX(a)(2).
         (3)      Reimbursable Expenses. Architect-Engineer shall include actual amounts incurred
         during the billing month for Reimbursable Expenses and shall submit receipts, expense reports,
         and other detailed documentation to substantiate each item of allowable reimbursable expense
         included on the invoice. Princeton University reserves the right to deduct amounts that are
         determined to be unallowable in accordance with Article IX(b). In no event will amounts be paid
         that are in excess of the total Reimbursable Expenses NTE Amount as set forth in Article IX(a)(3).
         (4)     Additional Services. Architect-Engineer shall separately account and invoice for
         additional services authorized under this Contract pursuant to Article IX(c). For additional
         services authorized to be performed on an hourly basis, Architect-Engineer shall include actual
         amounts incurred during the billing month and shall submit detailed backup to support and
         substantiate the amount being billed, including copies of employee-signed and supervisor-
         approved time sheets. For additional services for which a fixed fee has been established,
         Architect-Engineer shall bill as for Fixed Fee as described in paragraph (1) above. In no event
         will amounts be paid that are in excess of any maximum or fixed fee established for the additional
         services or that are based on hourly rates that are not in accordance with the hourly rate
         schedule established in Article IX(d).


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         (5)    In addition to the monthly amounts billed in accordance with the above, invoices shall
         show the corresponding total amounts as authorized by the Contract and the corresponding
         cumulative amounts billed to date.
(d)     Payments will be made to the Architect-Engineer within 30 days after receipt by the Princeton
University Contract Administrator of each invoice that is submitted in proper form and substance.
Release of payments will be conditioned upon review and approval of the invoice by Princeton
University’s Administrative and Technical Representatives designated in Article III(b).
(e)     Records. The Architect-Engineer shall maintain records for all reimbursable expenses and for
services performed on an hourly basis in accordance with generally accepted accounting principles.
Such records shall be made available to Princeton University or its authorized representative upon
reasonable advance written request at mutually convenient times. The Architect-Engineer shall retain all
records relating to this Contract until the expiration of seven (7) years after final payment is made under
this Contract, or six (6) months after final resolution (by non-appealable judgment or settlement) of any
disputes, whichever may be later.
(f)     The Architect-Engineer shall permit Princeton University, at its own expense, by its duly
authorized representatives, to inspect and audit all data, records and files pertaining to this Contract.
ARTICLE XI - TIME OF PERFORMANCE
Time is of the essence for this Contract. The Architect-Engineer shall perform its Services under the
Contract in accordance with the Milestone Design Schedule set forth below and the Design and
Construction Schedules as described in Article VI(c).
  Project Phase                                                          Milestone Dates
  Schematic Design (SD) Phase                                            February 12, 2009 – December 25, 2009
      SD Drawings Complete                                               October 23, 2009
      SD Complete/Approval to Proceed to DD                              January 22, 2010
  Design Development Phase                                               March 8, 2010 – October 13, 2010
  Construction Documents Phase                                           October 4, 2010 – September 14, 2011
      50% Documents Complete                                             February 4, 2011
      85% Documents Complete                                             June 17, 2011
      100% Documents Complete                                            September 14, 2011
      GMP Agreement                                                      October 7, 2011
  Bidding & Negotiation Phase                                            June 17, 2011 – November 4, 2011
  Construction Phase                                                     March 1, 2012 – February 27, 2015
  Close-Out Phase                                                        March 3, 2015 – March 2, 2016

ARTICLE XII - INSURANCE AND INDEMNIFICATION

(a)      Insurance. Prior to beginning any of the Work on the Project or at the time of execution of this
Contract, whichever occurs first, the Architect-Engineer shall establish, maintain and keep in force
policies for minimum insurance coverage as set forth below:
         (1)       Workers Compensation (WC) ......................................................... Statutory Minimum*
         (2)       Employer’s Liability (EL) ................................................................. $500,000 Minimum*
                   *WC and EL are not required if Architect-Engineer is a solo independent contractor.
         (3)     General Liability (GL): Comprehensive General Liability including Contractual, Premises
         Operations, Products and Completed Operations, Independent Contractors/Vendors and
         Personal Injury, Bodily Injury and Property Damage.
                   Each Occurrence ............................................................................. $2,000,000 Minimum
                   Aggregate ......................................................................................... $2,000,000 Minimum



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         (4)      Automobile Liability (AL): Automobile Liability insurance is required only when use of a
         vehicle is integral to the performance of the contract or project.
                   Bodily Injury and Property Damage ................................................. $1,000,000 Minimum
         (5)     Professional Liability (PL):       Architect-Engineers who are required to maintain
         professional licenses in order to practice in their profession shall maintain Professional Liability
         Insurance coverage as follows:
                   Per Claim ......................................................................................... $2,000,000 Minimum
                   General Aggregate ........................................................................... $2,000,000 Minimum
(b)        By requiring such minimum insurance, Princeton University shall not be deemed or construed to
have assessed the risk that may be applicable to the Architect-Engineer for this Project or under this
Contract. The Architect-Engineer shall assess its own risks and if deemed to be appropriate and/or
prudent, should maintain higher limits and/or broader coverage than that stipulated above. The Architect-
Engineer is not relieved of any liability or other obligations assumed or pursuant to the Contract by reason
of its failure to obtain or maintain insurance in sufficient amounts, duration, or types.
(c)     Insurance shall be provided at the Architect-Engineer’s expense as part of the Fixed Fee or
Hourly Expenses NTE Amount for Basic Services and shall not be charged directly to Princeton University
as a Reimbursable Expense.
(d)     Insurance policies required by this clause shall be written by a Carrier licensed to do business in
the State of New Jersey with a Financial Strength Rating (FSR) of at least ”A” and a Financial Size
Category (FSC) of at least “VIII” in A.M. Best’s Key Rating Guide.
(e)      The Professional Services Contractor shall name “The Trustees of Princeton University, its
Officers, Employees and Agents,” as an additional insured on any General Liability (GL) policy or policies
including any applicable Excess Liability policy or policies with respect to any liability resulting from or in
any way connected with any services provided under this BOA, and said insurance coverage shall be
primary as to any other valid and collectible insurance of Princeton University.
(f)     The minimum insurance coverage shall be maintained for the entire duration of the Project. In
the case of Professional Liability, “tail” coverage that continues for a period of three (3) years after
substantial completion of the Project shall be provided. The Princeton University Contract Administrator
shall be notified by the Architect-Engineer or its Insurance Carrier at least 30 days prior to any material
change to or cancellation of any of insurance coverage.
(g)      Prior to commencing any work on the Project or execution of this Contract, whichever occurs first,
the Architect-Engineer or its Insurance Carrier shall provide a Certificate(s) of Insurance (COI) evidencing
compliance with all requirements for insurance coverage as indicated in this Article. The COI shall be
submitted to the Princeton University Contract Administrator at the address shown on page 1 of this
Agreement for review and approval. For the duration of the contract, the Architect-Engineer or its
Insurance Carrier shall provide updated COI’s to evidence renewals or other changes to insurance
policies or coverage. At the point of substantial completion of the Project, a COI shall be provided that
evidences that the required Professional Liability “tail” coverage is in place and will remain in effect for a
minimum of three (3) years following Project completion.
(h)      Indemnification -
         (1)     To the fullest extent permitted by the laws of the State of New Jersey, and subject to
         subparagraph (2) below, the Architect-Engineer (the “Indemnitor” for purposes of interpreting this
         Paragraph) agrees to indemnify and hold harmless, and pay for the defense of Princeton
         University, its trustees, officers and employees, and any affiliated or related entities (the
         "Indemnitees" for purposes of interpreting this Paragraph) against all claims, loss, liability,
         damage, costs and expenses, including reasonable attorney’s fees, that are alleged to have
         occurred in whole or in part arise as a result of, but only to the extent caused by and in proportion
         to, the negligent acts or omissions of the Indemnitor, its agents, consultants, employees, or
         representatives.




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         (2)       Equitable Adjustment. In the event that acts, representations or omissions of an
         Indemnitee materially contributed to the nature or manner of performance or nonperformance by
         the Indemnitor, or its agents, consultants, employees, or representatives or nonperformance
         which gives rise to Indemnitor’s liability under paragraph "1" above, the indemnity obligation shall
         be equitably adjusted to reflect said material contribution, with the Indemnitor retaining
         proportional liability for indemnification consistent with that equitable adjustment, except that
         Indemnitor may not avail itself of rights under this subparagraph “2” until it has provided the
         Indemnitees with reasonably timely notice, via a written statement, of Indemnitor’s good faith
         factual basis for equitable adjustment, and proposed an adjustment based upon percentages,
         liability limits, or any other method of allocation that is appropriate under the circumstances.
         (3)       Survival. This indemnification obligation shall survive termination of this Agreement.
         (4)      Hazardous Materials Indemnification. To the fullest extent permitted by law, Princeton
         University shall hold harmless, defend, and indemnify Architect-Engineer from any and all claims,
         suits, demands, damages, losses, judgments, payments, awards, and expenses which directly or
         indirectly arise from or relate to hazardous materials as described in Article V(h) of this Contract.
(i)     Limitation of Liability. In recognition of the relative risks and benefits of the Project to both
Princeton University and Architect-Engineer and its Consultants, the risks have been allocated such that
Princeton University agrees, to the fullest extent permitted by law, to limit the liability of Architect-Engineer
to Princeton University for any and all claims, losses, costs, damages of any nature whatsoever or claims
expenses from any cause or causes, including reasonable attorneys' fees and costs and expert-witness
fees and costs, so that the total aggregate liability of Architect-Engineer to Princeton University shall not
exceed the total compensation received by Architect-Engineer under this Contract or the available
insurance proceeds from the Architect-Engineer’s applicable liability insurance policy and those of its
Consultants whichever is less. It is intended that this limitation apply to any and all liability or cause of
action however alleged or arising, unless otherwise prohibited by law.

ARTICLE XIII – OWNERSHIP AND USE OF DOCUMENTS

(a)      Authorship and Copyright; Perpetual License to Use. The original design documents,
including drawings, specifications and other documents prepared by the Architect-Engineer for this
Project are instruments of the Architect-Engineer’s service. Unless otherwise provided, the Architect-
Engineer shall be deemed the author of these documents and shall retain all common law, statutory and
other reserved rights, including copyright; provided, however, the Architect-Engineer agrees to and does
hereby grant, subject to Princeton University’s payment of undisputed sums, Princeton University a
perpetual royalty-free license to all such documents in which it may claim a copyright and to all
architectural work as to which it may assert any rights or establish any claim under the design patent or
copyright laws. Princeton University’s perpetual royalty-free license shall entitle it to unlimited rights in all
architectural works arising out of the Architect-Engineer’s performance of services pursuant to this
Contract, so long as its use thereof is consistent with Princeton University’s purpose, as set forth in its
Charter. This perpetual royalty-free license shall include, but not be limited to, drawings, specifications,
architectural designs of buildings and structures, notes and other architectural and engineering
documents produced by or on behalf of Architect-Engineer in the performance of this Contract, or in
contemplation thereof, archive drawings and archive specifications produced after completion (including
the right to use same for comprehensive campus-wide mapping endeavors), and any and all other
“architectural works” as that term is defined in the Architectural Works Copyright Protection Act at 17
U.S.C. 102 (a)(8). Princeton University shall defend, indemnify and hold the Architect-Engineer harmless
from and against all claims, losses, liabilities and damages arising out of Princeton University’s use of
documents pursuant to this perpetual royalty-free license for any purpose other than in connection with
the Project which is the subject of this Contract.
(b)     At any time upon demand by Princeton University, Architect-Engineer shall furnish to Princeton
University as a Reimbursable Expense a complete set of all work product prepared by or obtained by the
Architect-Engineer to date of such demand. In the event of Architect-Engineer’s failure to comply with
Princeton University’s demand hereunder, the parties agree that any remedy at law would be inadequate



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and entitle Princeton University to equitable relief including without limitation the remedy of specific
performance.
(c)     In the event that the Contract is terminated for Architect-Engineer’s default pursuant to Article XV
hereof, Architect-Engineer shall remain responsible for all signed and sealed construction documents
prepared by Architect-Engineer or its Consultants, except to the extent that such documents are modified,
misused or misinterpreted by Princeton University, or its contractors, or any replacement architect. In all
other cases, reuse of the Architect-Engineer’s design documents without written authorization by
Architect-Engineer shall be at Princeton University’s risk.
(d)     The Architect-Engineer shall be permitted to reuse individual elements of the design for the
Project on other projects; provided, however, that the Architect-Engineer shall not substantially reproduce
the design of this Project on any other project without Princeton University’s prior written approval.
(e)     Notwithstanding paragraph (a), renderings, presentation models, and mock-ups shall become
property of Princeton University.

ARTICLE XIV – ARCHIVE DRAWINGS AND SPECIFICATIONS

(a)      As part of its Basic Services, the Architect-Engineer shall comply with the archiving requirements
set forth in Section 1.5 - Documentation and Archiving of the Princeton University Facilities Department
Design Standards Manual and shall furnish to Princeton University Record Drawings and Specifications in
the formats prescribed therein.
(b)      Comprehensive Archive Drawings and Specifications Services [X] are [ ] are not included within
the scope of Basic Services under this Contract. When these services are included in the scope of work
for this Contract, the Architect-Engineer shall reconcile the Record Drawings and Specifications
deliverable pursuant to this Article XIV with the Contractor’s As-Built Drawings and deliver a set of
Comprehensive Archive Drawings and Specifications for Princeton University’s archive in the formats
prescribed in Section 1.5 of the Princeton University Design Standards Manual. This is an optional
service that Princeton University may choose to invoke at the time of contract award or any time
thereafter prior to the date of Substantial Completion for the project at a fixed fee of $260,000.00. If this
option is invoked at the time of contract award, this amount will be included in the Fixed Fee set forth in
Article IX(a)(1). If this option is invoked any time after award of the contract, these services will be added
as Additional Services in accordance with Article IX(c) at this fixed fee amount.

ARTICLE XV – TERMINATION

(a)      Termination of Contract for Architect-Engineer’s Default.
         (1)      Grounds. If Architect-Engineer fails to perform any of its material duties under the
         Contract in a timely fashion, for reasons not due to the fault of Princeton University, Contractor or
         any subcontractor, or otherwise materially breaches the Contract in any way, Princeton University
         may terminate the Contract for default. Without limitation, termination for default will be permitted
         if Architect-Engineer fails to promptly correct any errors, omissions or other deficiencies in
         documents prepared by Architect-Engineer upon receiving notice of them from Princeton
         University or otherwise becoming aware of them; fails to adhere to agreed schedules or to
         perform in a timely fashion; fails to continue its performance during the pendency of a dispute, as
         required by the Contract; becomes insolvent, makes an assignment for the benefit of creditors,
         files a voluntary petition in bankruptcy or insolvency or has an involuntary petition in bankruptcy
         or insolvency filed against it, or has a receiver appointed; files for dissolution or otherwise is
         dissolved; or if Princeton University shall have reasonable grounds to believe that Architect-
         Engineer does not have the technical or financial ability to complete its obligations under the
         Contract and Architect-Engineer fails to give Princeton University prompt and reasonable
         assurances of its ability to perform.
         (2)      Notice and Effective Date. Princeton University shall notify Architect-Engineer, in
         writing, of a termination for default, and the reasons prompting it. Thereafter, Architect-Engineer
         shall have ten (10) days to cure such default (“Cure Period”), or a reasonable period of time if it is


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         practically impossible to cure such default within ten days provided that Architect-Engineer gives
         Princeton University reasonable assurances that a satisfactory cure will be effectuated within
         such reasonable time. Should the default not be cured, nor reasonable assurances given that the
         default will be cured within a reasonable time, the termination shall take effect, without further
         notice, on the date specified in the notice. However, the termination will not take effect if, before
         the termination's effective date, Princeton University delivers to Architect-Engineer a written
         revocation of the termination.
         (3)     Termination Remedy Cumulative. The remedy of termination is not exclusive, but is in
         addition to all other rights or remedies Princeton University may have in law or equity for any
         breach of contract by Architect-Engineer. Neither termination of the Contract nor any payment to
         Architect-Engineer shall limit or impair the right of Princeton University to recover damages
         occasioned by the fault or default of Architect-Engineer.
         (4)      Effect of Wrongful Termination Under This Section. If any termination for default is
         later determined to have been improperly effected Architect-Engineer shall be entitled to receive,
         as its sole remedy, the costs or damages described in paragraph (b) hereof.
(b)     Termination For Convenience. Princeton University may terminate the Contract, without
declaring Architect-Engineer in default, with or without cause, by providing Architect-Engineer with thirty
(30) calendar days' written notice of termination at any time.
         (1)     If the Architect-Engineer is a sole proprietor and the Architect-Engineer should die during
         the term of this Contract, this Contract shall be considered terminated. In the event of such
         termination, the Architect-Engineer’s estate shall be entitled to reasonable payment for any
         uncompensated Services performed to the date of death, and Princeton University shall have title
         to and/or the right to immediate use and possession of all finished and unfinished documents
         prepared under this Contract, as if this Contract had been terminated for the convenience of
         Princeton University pursuant to this paragraph (b).
(c)      Deliverables and Compensation. In the event of termination, Architect-Engineer shall promptly
deliver to Princeton University all records, documents, working papers, calculations, computer programs,
data, drawings, plans, specifications and other tangible work products and all equipment, materials, items
or objects acquired by Princeton University and reimbursed by Princeton University, pertaining to the
services performed under this Contract to the time of termination; provided that Princeton University has
paid to Architect-Engineer all amounts due and owing as of the date of determination, exclusive of
amounts disputed in good faith by Princeton University. In addition,
         (1)     If termination is under paragraph (a) for default, compensation will be paid only for
         services properly performed and actual expenses incurred through the date of termination less
         the amount of any asserted claims of Princeton University or any claims arising out of such
         termination, including without limitation claims attributable to any excess reprocurement costs
         incurred to complete the remaining obligations of Architect-Engineer under this Contract.
         (2)      If termination is under paragraph (b) for convenience, Architect-Engineer shall be paid a
         percentage of its Basic Services compensation corresponding to the value of the Services
         actually completed by Architect-Engineer as of the date of the termination, together with
         compensation for any approved Additional Services actually completed. The value of Basic
         Services completed shall be based upon the breakdown set forth in the Article IX. The payment
         of these amounts is Architect-Engineer's sole remedy for termination for convenience. In no
         event shall Architect-Engineer be entitled to recover any additional amounts after termination
         under this section, including, without limitation, profits or overhead on portions of the Services not
         performed as of the effective date of termination. Compensation shall in no case exceed the
         limits established in this Contract for each phase of the Services as to which Princeton University
         has expressly authorized Architect-Engineer to proceed, plus reasonable expenses arising from
         and limited to Architect-Engineer's demobilization of staff as a direct result of termination of this
         Contract.
(d)   Termination of Contract for Princeton University’s Default. If Princeton University fails to
make payments to Architect-Engineer in accordance with this Contract, exclusive of payments disputed


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by Princeton University in good faith, such failure shall be considered substantial nonperformance and
cause for termination, or, at Architect-Engineer’s option, cause for suspension of performance of services
under this Contract. If Architect-Engineer elects to suspend services, prior to suspension of services,
Architect-Engineer shall give seven (7) days’ written notice to Princeton University. In the event of the
suspension of services, Architect-Engineer shall have no liability to Princeton University for delay or
damage caused Princeton University because of such suspension of services. Before resuming services,
Architect-Engineer shall be paid all sums due, except amounts disputed by Princeton University in good
faith, prior to suspension and any expenses incurred in the interruption and resumption of Architect-
Engineer’s services. Architect-Engineer’s fee for the remaining services and the time schedules shall be
equitably adjusted. If Architect-Engineer elects to terminate this Contract for nonpayment or other
material breach of contract, the Architect-Engineer shall notify Princeton University, in writing, of the
termination for default, and the reasons prompting it. Thereafter, Princeton University shall have ten (10)
days to cure such default (“Cure Period”), or a reasonable period of time if it is practically impossible to
cure such default within the ten (10) days provided that Princeton University gives Architect-Engineer
reasonable assurances that a satisfactory cure will be effectuated within such reasonable time. Should
the default not be cured, nor reasonable assurances given that the default will be cured within a
reasonable time, the termination shall take effect, without further notice, on the date specified in the
notice. However, the termination will not take effect if, before the termination's effective date, Architect-
Engineer delivers to Princeton University a written revocation of the termination.

ARTICLE XVI – SUSPENSION

(a)    Princeton University, at any time, upon three (3) days written notice to the Architect-Engineer may
suspend all of any part of the Services of the Architect-Engineer.
(b)     In the event of suspension by Princeton University as noted above, the Architect-Engineer shall
be entitled to receive reasonable compensation for Services already satisfactorily performed and
accepted, but no amount shall be allowed for anticipated profit on unperformed Services.
(c)      Notwithstanding any amounts for Extra Services agreed to by the Parties in accordance with
Article VIII(b), should Princeton University reactivate any assigned work covered by this Contract, in
whole or in part, within 180 days from the time the Services were suspended, any fees paid to the
Architect-Engineer pursuant to this Contract shall be applied as payment on the fees for the Services as
set forth in this Contract at this time of reactivation. Should reactivation occur after a period of
suspension exceeding 180 days, the Architect-Engineer and Princeton University may renegotiate the
fees based on current conditions or either may unilaterally elect to terminate the Contract as it pertains to
the remaining Services.
(d)      In the event Princeton University decides to suspend any Services under this Contract, Princeton
University shall remain entitled to unlimited access to all finished and unfinished documents prepared by
the Architect-Engineer pursuant to this Contract and shall be vested with all rights to such documents as
set forth in Article XIII.
(e)      If the Architect-Engineer should be unwilling or unable to perform the Services required by this
Contract at the time Princeton University desires to reactivate the Services after a period of suspension,
then Princeton University shall have title to and/or the right to immediately use and possess all finished
and unfinished documents prepared under this Contract as if the Contract had been terminated pursuant
to Article XV(b).

ARTICLE XVII - DISPUTE RESOLUTION

(a)      If a claim, controversy or dispute between Princeton University and Architect-Engineer arises
concerning the interpretation of the Contract, the performance of any portion of Architect-Engineer’s
Services, or any other matter arising under or relating to this Contract, or the breach thereof, the parties
shall promptly confer and exert their best efforts in good faith to reach a reasonable and equitable
resolution of the issue.




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(b)      If the parties are unable to resolve the claim, controversy or dispute within a reasonable time,
either party may initiate mediation administered by the American Arbitration Association under its
Construction Industry Mediation Rules (online at www.adr.org), including, but not limited to, the provisions
therein regarding confidentiality. The parties expressly agree that the mediator shall have the authority, in
his or her discretion, to (i) engage in fact finding and/or analysis, and (ii) tailor or forgo mediation sessions
anticipated by the Construction Industry Mediation Rules.
(c)      For any claim, controversy or dispute not resolved through mediation under paragraph (b), either
party may initiate litigation, provided that such litigation shall be brought exclusively in the United States
District Court for the District of New Jersey or in the Superior Court of the State of New Jersey, Mercer
County. The parties agree that any otherwise applicable statute of limitations applicable to claims raised
in mediation shall be tolled from the date mediation is initiated until thirty days after the conclusion of
mediation, as determined by the mediator. Completion of the mediation process is a condition precedent
for either party to initiate litigation, except for litigation seeking a temporary restraining order and/or a
preliminary injunction.
(d)      Princeton University and Architect-Engineer agree that this dispute resolution process shall apply
to all claims, controversies and disputes arising between them, including those involving other parties
which have entered into agreements with Princeton University or Architect-Engineer containing provisions
substantially similar to this paragraph. In the event of such a claim, controversy or dispute involving third
parties bound by such provisions, the procedure set forth above shall be interpreted and applied so as to
encompass all such parties to the dispute. The Architect-Engineer expressly agrees (i) to being joined in
any mediation or litigation between Princeton University and one or more third parties giving rise to a
claim by Princeton University against Architect-Engineer relating to the Project, and (ii) to the joinder of
one or more third parties in any mediation or litigation between Princeton University and Architect-
Engineer where such mediation or litigation gives rise to a claim by Princeton University against such
third parties.
(e)      Pending final resolution of any claim, controversy or dispute, (i) Architect-Engineer shall proceed
diligently with the performance of its obligations under the Contract without interruptions or delay, and
shall not directly or indirectly stop or delay its performance; and (ii) Princeton University shall make timely
payment in accordance with the Contract of all undisputed amounts.

ARTICLE XVIII – MISCELLANEOUS

(a)      Delivery of Notice. Notices required or permitted to be given to either party hereto shall be
sufficient if delivered by first class mail, express delivery service, facsimile, electronic mail, or personal
delivery to Princeton University addressed to the Contract Administrator or to Architect-Engineer
addressed to the Principal in Charge at the addresses shown on Page 1 of this Contract or to such other
address as either party may specify to the other by notice given as provided herein.
(b)     Rights and Remedies. Princeton University’s review, approval, acceptance or payment for
Services under this Contract shall not operate as a waiver of any rights under this Contract and Architect-
Engineer shall be and remain liable to Princeton University for all damages incurred by Princeton
University as the result of Architect-Engineer’s failure to perform in conformance with the terms and
conditions of this Contract. The rights and remedies of Princeton University provided for under this
Contract are in addition to any other rights or remedies provided by law.
(c)     No Third Party Beneficiaries. The parties acknowledge that this Contract is not intended to
create, and shall not be construed to create, third party beneficiary rights for or against any third party,
except as expressly set forth herein.
(d)     Successors and Assigns. Architect-Engineer shall not in whole or in part assign or transfer this
Contract or delegate its duties without the prior written approval of Princeton University. Architect-
Engineer for itself and Architect-Engineer’s successors, Consultants, assigns, partners and legal
representatives, binds them to Princeton University with respect to all covenants of this Contract.
Princeton University for itself and its successors, assigns and legal representatives, binds them to
Architect-Engineer with respect to all covenants of this Contract.



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(e)      Execution. The Contract may be signed in more than one identical counterpart, each of which
shall be deemed to be an original hereof.
(f)     Limitation of Actions. The parties agree that any action by Architect-Engineer against
Princeton University arising out of or relating to this Contract shall be commenced within one (1) year
after Substantial Completion of the Project, any otherwise applicable statutory limitations period
notwithstanding, except for actions for indemnity or contribution arising out of actions brought against
Architect-Engineer by third parties. The parties further agree that any period of limitations on any claim of
Princeton University against the Architect-Engineer shall in no event begin to run until the date of
Substantial Completion of the Project or until the date on which Princeton University knew, or reasonably
should have known, the basis for the claim against the Architect-Engineer, whichever occurs later.
(g)     Advertisement. Architect-Engineer shall not issue or permit to be issued any advertisement,
press release, or literature of any kind which refers to Princeton University or the services performed in
connection with the Contract, unless it first obtains the written approval of Princeton University.
(h)      Severability. Should any provision of this Contract be held unenforceable as a matter of law, the
validity of the remaining provisions shall not be affected by such a holding, providing that the
unenforceable provision was not a controlling or material inducement to the making of the Contract.
(i)      Modification. The parties agree that this Contract may be modified from time to time only by
means of written documents signed by both parties. In the normal course, any changes to the provisions
of this Contract shall be made by way of an executed change order.
(j)     Waiver. It is agreed that no waiver by either party of any breach by the other party of any of the
provisions herein shall be deemed a waiver as to any prior, subsequent and/or similar breach, or any
other breach whatsoever.
(k)     Applicable Law. This Contract is deemed entered into in the state of New Jersey, and is to be
construed under the laws of that state.
(l)     Applicable Currency. The applicable currency for all price and other monetary terms in the
Contract is U.S. Dollars. Payments under the Contract will be made in US Dollars unless otherwise
specified in the Contract.
(m)     Licensed Architect-Engineer. Architect-Engineer hereby warrants that for the duration of the
Contract it shall be fully licensed and authorized to practice in New Jersey and to provide any other
services required under the Contract.
(n)     Entire Contract. This Contract represents the entire and integrated agreement between
Princeton University and the Architect-Engineer and supersedes all prior negotiations, representations or
agreements, either written or oral.
(o)      Architect-Engineer and Princeton University waive consequential damages for claims, disputes,
or other matters in question arising out of or relating to this Agreement. This mutual waiver is applicable,
without limitation, to all consequential damages due to either party’s termination in accordance with
Article XV.




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 CONTHACT NUMm:H FC000:1914.W                                                                          PAHT 1- AGHEl':MI<:NT



 IN WITNESS WHEREOF, the Parties hereto have executed this Contract:

   WITNESS TO SIGNATURE ON BEHALF OF
         PRINCETON UNIVERSITY
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   WITNESS TO SIGNATURE ON BEHALF OF
                                                                                ARCHITECT-ENGINEER
          ARCHITECT-ENGI N EER



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                                                    CUMULATIVE CONTRACT FUNDING SUMMARY

                                    078-2055 330             078-2055 331           078-2055 322                        TOTALS

Letter Contract                        $1,845,244 .00             $129,167.00                     $0.00                 $1,974,411.00

Superseding Contract                   $2,991,899.00               $62,256.00                     $0.00                $3,054,155.00

                   TOTALS             $4,837,143.00               $191,423.00                     $0.00                $5,028,566.00




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                       CONTRACT NUMBER FC0003914W
 DESIGN SERVICES FOR THE ANDLINGER CENTER FOR ENERGY
                    & ENVIRONMENT
                                PART II – Project Description



The following document(s) attached hereto or incorporated by reference comprise the
Project Description for this contract:

               •     Project Description for Architect-Engineer Design Services for the
                     Andlinger Center for Energy and the Environment (ACEE) Project dated
                     10/20/2008 (Attached)
               •     Tod Williams Billie Tsien Architects Proposal dated November 17, 2008
                     submitted in response to RFP CAO-09-034W (Incorporated by
                     Reference)




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                      PROJECT DESCRIPTION
                              FOR
          ARCHITECT-ENGINEER DESIGN SERVICES FOR THE
ANDLINGER CENTER FOR ENERGY AND THE ENVIRONMENT (ACEE) PROJECT

                                         October 20, 2008

Value Proposition

Build state-of-art laboratories for research with applications in the areas of energy and the
environment.

Create an environment that fosters accelerated innovation and the seamless interaction of theory,
experiment, design, and manufacturing.

Develop space for visitors from industry and academia to collaborate with Princeton University
faculty and students.

Create a premier forum for academic conferences and events on topics related to energy and the
environment.

Project Background

As part of a major initiative to expand research and teaching in the areas of energy and the
environment, Princeton University seeks to build new specialized laboratories that are crucial for
advancing practical solutions in these areas. By developing the first new experimental research
facilities in the School of Engineering and Applied Science since 1993, Princeton will greatly
increase the effectiveness and impact of its distinguished research teams. The engineers and
scientists already on the campus will be able to expand the horizons of their research by
designing new experiments that take advantage of cutting-edge instrumentation and they will be
able to attract new colleagues – from academia and industry – who will supply critical new
perspectives to the research enterprise.

The new initiative will bring together faculty members from various departments and
interdisciplinary centers, including Chemical Engineering, Electrical Engineering, Civil and
Environmental Engineering, Mechanical & Aerospace Engineering and the Princeton Institute
for Science and Technology of Materials, among others. Please see http://www.princeton.edu
for detailed descriptions of the departments.

Existing Conditions Assessment

Princeton University will provide a site survey, site utility plan, and existing condition drawings
for the project site. The Architect will be responsible for verifying all field conditions relating to
any area or system to be renovated. New measured drawings will be required to depict
accurately the conditions of these areas on the base plans. It is expected that any renovation or
connection to existing mechanical, electrical or plumbing (MEP) infrastructure will be


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completely analyzed to determine appropriate local points of connection and impact. Analysis of
options including MEP alternatives will be conducted in conformance with Princeton standards.

Princeton University Campus Plan

In 2008, Princeton University completed a detailed campus plan, available online at
http://www.princeton.edu/campusplan/. The plan identifies Five Guiding Principles:
   •   Maintain a pedestrian-oriented campus
   •   Preserve the park-like character of the campus
   •   Maintain campus neighborhoods while promoting a sense of community
   •   Build in an environmentally responsible manner
   •   Sustain strong community relations

The Campus Plan also serves as a planning framework for specific neighborhoods including the
Prospect Avenue and William Street neighborhood, which includes the School of Engineering
and Applied Science.

Design Principles

The Andlinger Center for Energy and Environment will support a vibrant and expanding
program of research and teaching in the areas of sustainable energy development, energy
conservation, and environmental protection and remediation. Working closely with scientists
and policy analysts across the University, the Center will pursue these studies with an eye
towards translating fundamental knowledge into practical solutions that will enable sustainable
energy production and the protection of the environment from dangerous anthropogenic change.
The Center will be located in a neighborhood within the Engineering School, in a new state-of-
the-art research facility and in existing space. The new facility must embrace the principles of
the 2008 Campus Plan and transform a site burdened with unsatisfactory campus planning
conditions into one that achieves a standard of excellence consistent with the best Princeton
campus traditions. The primary design goals include the following:

   •   Education: To create a facility that will attract, inspire and educate the current and future
       generations of leaders in the areas of energy and the environment.
   •   Research: To create a state-of-the-art shared-facility research building with materials for
       energy and the environment as a unifying theme, and to optimize synergies between the
       new facility and existing related academic and research units, such as the Department of
       Civil and Environmental Engineering, and the Mid-Infrared Technologies for Health and
       the Environment (MIRTHE) Engineering Research Center. Rooftop laboratory activities
       will be a distinctive aspect of the new building.
   •   Sustainability: To create a design that is fundamentally imbued with the ethos of
       sustainability. Through state-of-the-art instrumentation, the new facility and landscape
       should be a laboratory for the built environment.



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   •   Identity: To create a distinctive, visible and identifiable center for research and teaching
       dedicated to translating fundamental knowledge into practical solutions that will enable
       sustainable energy production and the protection of the environment and engage
       occupants and visitors through exposure to research and innovation.
   •   Outreach: To create a premier forum for academic conferences and events on topics
       related to energy and the environment. To establish a vigorous program of industrial and
       academic visitors.
   •   Context: To embrace and transcend the challenging context presented by the existing E-
       Quad, Bowen Hall, and 87 Olden structures.
   •   Connectivity: To enhance the functionality and quality of connectivity between the E-
       Quad, Bowen Hall, and 87 Olden structures and to enhance the space efficiency of
       Bowen Hall.

Program

The School of Engineering and Applied Science has developed a detailed programming study. It
is imperative that the new facilities support the specific scientific needs identified by the
departments. The selected Architect is expected to develop a detailed work plan that supports
the technical requirements for the project. The functional and space programs for the proposed
facility are described in the attached Andlinger Center for Energy and the Environment
Programming Study completed by Davis Brody Bond Aedas dated October 17, 2008. The
following program summary is extracted from the attached Programming Study:

                        Space Description                                Total ASF
 Cleanroom Facility                                                       27,883
 Imaging Center                                                             9,889
 Research Laboratories                                                     17,474
 Teaching Laboratories                                                      3,300
 Faculty & Administrative Offices                                           3,150
 Graduate Students                                                          3,490
 Building Support                                                           2,240
 Conference Center                                                          5,870
 Special Components                                                         1,800
 Total (nsf)                                                               75,096

Sustainability

Princeton University has committed to reducing its carbon dioxide emissions to 1990 levels by
2020 as part of a comprehensive Sustainability Plan that sets ambitious goals in the areas of
greenhouse gas emissions reduction, resource conservation, research education, and civic
engagement.



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Potential elements of the building and site sustainable design include:
   •   Energy efficient building envelope
   •   Energy recovery and optimization systems
   •   Building materials with low VOC emissions
   •   Thermal and lighting control systems
   •   Green roofs (when appropriate in context of a residential neighborhood)
   •   Permeable paving and biofiltration systems
   •   Energy recovery systems
   •   Storm water collection systems to reduce landscape irrigation requirements

Princeton University’s Commitment to Sustainability is set forth below:

   a) Princeton University is strongly committed to the principles of sustainable evolution of
      the campus. To further that objective, Princeton has developed specific goals for campus
      design and operation of its facilities. These goals shall be applied to this project.
   b) These goals are to be met in conjunction with the Princeton University Design Standards
      Manual, Release 7.0 dated March 2008, and Section 1.2 Sustainable Building Guidelines.
      The Guidelines currently allow for establishing the goals for sustainability on a project-
      by-project basis.
   c) As an amendment to the Princeton University Design Standards Section 1.2 Sustainable
      Building Guidelines, during the sustainability charrette, the following shall be established
      for every project, as a starting point and further goals specific to each project are to be
      developed:
       (i) New construction and renovations shall be designed to use 50% less energy than
           required by code.
       (ii) All projects shall be designed in manner to allow at least a LEED Silver equivalency,
            should the University decide to submit the project for formal certification.
   d) These requirements will follow into the Life Cycle Comparative Study (LCCS)
      Workshop and Reviews, Construction and Best Practices Phases.

As part of the Princeton’s Architect-Engineer selection process for this Project, your team will be
required to present for Princeton’s consideration and evaluation examples of demonstrated
experience in delivering projects that have met or exceeded similar sustainability requirements
and that employed leading edge sustainable design. For more information on the sustainability
guidelines, see http://www.princeton.edu/facilities/design_construction.

Building Information Modeling

The selected Architect will implement a design and documentation process that is fully
coordinated with all consultants. It is highly desired that the Architect will utilize three-


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dimensional, real-time, dynamic building modeling software to increase productivity in building
design and construction. The process is to produce a Building Information Model (BIM), which
encompasses building geometry, spatial relationships, geographic information, and quantities and
properties of the building components. It is anticipated that the Architect will work with
Princeton University at the earliest inception of the project to establish an acceptable BIM
standard for the project.

Schedule

The construction of the Andlinger Center must be complete no later than March 2014. The
following represents Princeton’s proposed milestone schedule for the majority of the work.
Please note timing of the various zoning requirements shown and assumed to be parallel
activities with other milestones listed below:

                          Activity                                 Completion Dates
 Architect Selected                                                  January 2009
 Select CM                                                            April 2009
 Trustee Concept Approval                                           September 2009
 Submit Concept to Municipality                                     September 2009
 Submit Land Use Application                                        November 2009
 Design 50% Complete                                                   May 2010
 Submit Concept to Municipality                                     September 2009
 Concept Presentation                                               November 2009
 Submit Land Use Application                                        December 2009
 Site Plan Submission Deemed Complete (anticipated)                   March 2010
 SPRAB meeting (unconfirmed by the Municipality)                      April 2010
 PRPB final presentation (unconfirmed by the Municipality)             July 2010
 Design 85% Complete                                                   July 2010
 Design 100%                                                         August 2010
 FPG Final Concept and Budget Approval                               August 2010
 Trustee Finance Committee Approval                                 September 2010
 Meet Conditions of Land Use Approval                                January 2011
 Receive Building Permits                                             April 2011
 Start Construction                                                   March 2011
 Finish Construction                                                  March 2014




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Construction Budget

Princeton University has identified a construction budget of $102,000,000 for this work,
expressed in 2008 dollars. Based on the Programming Study a further breakdown of the
anticipated costs is listed below.

   •   Andlinger Center Construction- $82,475,000
   •   Bowen Hall Renovation - $15,625,000
   •   86 Olden Renovation - $3,900,000

Contracts

It is Princeton’s intent to enter into a prime contract with the Architect who will in turn, enter
into subcontracts with other basic and specialized sub-consultants necessary to perform all
design services required for this Project, with the exception of the following services for which
Princeton will contract separately and directly:
   •   Civil engineering work outside of the building will be contracted with Van Note-Harvey
       Associates, PC
   •   Landscape design work will be contracted with Michael Van Valkenburgh Associates,
       Inc.
   •   Building Commissioning services will be contracted with a Commissioning Agent (to be
       determined)
The Architect will be responsible for management, oversight, and coordination of all of its sub-
consultants throughout all phases of the design services contract. In addition, the Architect will
also be responsible for coordinating with the other firms contracted separately by Princeton, and
for providing direction to and incorporating their work into the project design, engineering, and
construction documents. It shall be at Princeton’s discretion as to when sub-consultants are
required to attend or participate in design review or construction phase meetings.

The Architect will be responsible for providing all design and engineering services for the
building as well as coordinating with Princeton University Facilities Engineering. Other
Princeton projects may be designed and constructed on adjacent parcels of land during the
Andlinger Center Project. The Architect will be responsible for coordinating the design and
engineering of the Andlinger Center Project in concert with these projects.

The scope of services shall include all items listed in Article VI- Architect Engineer’s General
Responsibilities and Article VII – Architect-Engineer’s Basic Services as set forth in the
Architect-Engineer Design Services Contract and shall include sustainability reviews at each
design milestone.

Princeton will retain the services of a Construction Manager (CM) throughout the
preconstruction/design process proposed for the project. A Preconstruction Services Contract
will be issued to a CM that incorporates input from the design team. Preconstruction Services
will include the preparation, submission, and finalization of a Guaranteed Maximum Price


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(GMP) proposal. It is Princeton’s intent to enter into a construction services contract with the
CM using the final GMP amount. However, Princeton reserves the right to solicit competitive
bids or GMP proposals from other construction companies.

All procedures for document production and review shall be followed according to the Princeton
University Facilities Department Design Standards Manual (Currently Version 7.0 dated March
2008) that is current at the time of contract execution. It is the responsibility of the A-E to
coordinate the project with the requirements of the Design Standards Manual and incorporate
them into the design schedule.

Regulatory Issues.

Participation in project review procedures, including state, county, and local authorities, is
included in the Architect’s scope of services. This includes any meetings, presentations,
graphics, corrections, and resubmissions required for such approvals.

The Andlinger Center Project will be subject to full land use review and approval by the
Princeton Regional Planning Board. The Architect shall include the work associated with the
land use approval process in its scope of work.

Attachments

Andlinger Center for Energy & the Environment Programming Study with Appendices
Overall Site Plan
Utility Plan

* These documents are provided for reference and are subject to change.




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